   Case
     Case
        1:21-mj-00108-MEH
           1:21-mj-00108-MEH*SEALED*
                               Document
                                     Document
                                        12 Filed3-3
                                                  06/30/21
                                                     Filed 06/22/21
                                                            USDC Colorado
                                                                    USDC Colorado
                                                                            Page 1 ofPage
                                                                                      83 1
        Case: 5:21-mj-05209-MAS Doc #: 1-3 of 23 06/22/21 Page: 1 of 23 - Page ID#: 89
                                           Filed:



                               UNITED STATES DISTRICT COURT
                                                         for the
                                                   District of Colorado

                   United States of America                    )
                              v.                               )
                                                               )
                      CHARL LE ROUX                            )          Case No.
                                                               )
                           Defendant                           )


                                          CRIMINAL COMPLAINT

                  I, William Stacy Campbell III, the complainant in this case, state that the following is true
         to the best of my knowledge and belief:
                        On or about March 5, 2019, in the State and District of Colorado and elsewhere,
        the defendant CHARL LE ROUX did knowingly alter, conceal cover up, falsify and make false
        entries in a record, document, and tangible object, specifically Province of the Eastern Cape
        Hunting License 44789 issued to C.F., whose identity is known to me, with the intent to impede,
        obstruct and influence the investigation and proper administration of such matters within the
        jurisdiction of the United States Fish and Wildlife Service, a department and agency of the
        United States, and in relation to and in contemplation of such matter and case.

                         All in violation of Title 18, United States Code, Section 1519

                         Code Section                                            Offense Description

                  18 U.S.C. § 1519                                               Falsification of Records



         This criminal complaint is based on these facts:
                  See Affidavit attached hereto and herein incorporated by reference.

                  X Continued on attached sheet.

                                                       s/ William Stacy Campbell III
                                                                                 Complainant’s signature

                                                 William Stacy Campbell III, FWS-OLE Special Agent
                                                                                 Printed name and title

Sworn to before me and:      signed in my presence.
            submitted, attested to, and acknowledged by reliable electronic means.

Date:
                                                                                       Judge’s signature

City and state:                                          Hon. Michael E. Hegarty, U.S. Magistrate Judge
                                                                                     Printed name and title
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH*SEALED*
                            Document
                                  Document
                                     12 Filed3-3
                                               06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 2 ofPage
                                                                                   83 2
     Case: 5:21-mj-05209-MAS Doc #: 1-3 of 23 06/22/21 Page: 2 of 23 - Page ID#: 90
                                        Filed:


   DEFENDANT:               CHARL LE ROUX

   YOB:                     1988

   ADDRESS (CITY/STATE): South Africa

   OFFENSE(S):              18 U.S.C. § 1519 (Falsification of Records)


   LOCATION OF OFFENSE (COUNTY/STATE): Denver, Colorado

   PENALTY:                 NMT 20 years’ imprisonment; fine of $250,000 or 2x gain/loss, whichever is
                            greater (or both a fine and imprisonment); NMT 3 years’ supervised release;
                            SA fee of $100
   AGENTS:                  FWS-OLE Special Agent William Stacy Campbell III

   AUTHORIZED BY: Bryan David Fields
                  Assistant U.S. Attorney

   ESTIMATED TIME OF TRIAL:

         X   five days or less           over five days             other

   THE GOVERNMENT

     X       will seek detention in this case             will not seek detention in this case

   The statutory presumption of detention is or is not applicable to this defendant. (Circle one)

   OCDETF CASE:                    Yes          X           No
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH*SEALED*
                            Document
                                  Document
                                     12 Filed3-3
                                               06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 3 ofPage
                                                                                   83 3
     Case: 5:21-mj-05209-MAS Doc #: 1-3 of 23 06/22/21 Page: 3 of 23 - Page ID#: 91
                                        Filed:




                   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINTS
           I, William Stacy Campbell III, Special Agent with the United States Fish and Wildlife
   Service, Office of Law Enforcement (“FWS-OLE”) being duly sworn, depose and state under
   penalty of perjury that the following is true to the best of my information, knowledge and
   belief.
                         INTRODUCTION AND AGENT BACKGROUND
           1.      I make this affidavit in support of an application for a criminal complaint alleging
   that South African National CHARL LE ROUX submitted falsified hunting licenses to a United
   States Fish and Wildlife inspector for the purpose of impeding, corrupting, and influencing an
   investigation into the nature of a shipment of 23 animals, including a threatened Lechwe, and the
   proper administration of a matter relating to the import of those animals into the United States
   pursuant to the Convention on International Trade in Endangered Species and implementing laws
   and regulations.

           2.      I am a Special Agent with the U.S. Fish and Wildlife Service, Office of Law
   Enforcement. I have been a special agent with FWS-OLE for nineteen (19) years. I am
   currently assigned to investigate crimes involving the illegal importation and transportation of
   wildlife. During my tenure with FWS-OLE, I have participated in a variety of criminal wildlife
   investigations, during the course of which I have interviewed witnesses, conducted physical
   surveillance, executed search warrants, reviewed bank records, shipping records, transportation
   records, and other business records, and retrieved and analyzed information in the Law
   Enforcement Management Information System (“LEMIS”), a database used by the United States
   Fish and Wildlife Service (the “Service”) to keep track of, among other things, the declared
   importation and shipment of wildlife. Through my training, education, and experience, I am
   familiar with the techniques and methods used by individuals involved in criminal wildlife
   trafficking.

           3.     For the reasons set forth in more detail below, I submit that there is probable
   cause to believe that CHARL LE ROUX falsified a hunting license on or about March 5, 2019 in
   order to impede, obstruction, and influence a United States Fish and Wildlife inspector in her
   determination as to whether a shipment of 23 animals into the United States from South Africa
   could validly be imported into the United States.

           4.       The facts set forth in this affidavit are based on my personal knowledge as the
   investigation’s Case Agent; knowledge obtained from other individuals including law
   enforcement personnel, my review of documents, reports and other evidence. Except as
   explicitly set forth below, I have not distinguished in this affidavit between facts of which I have
   personal knowledge and facts of which I have hearsay knowledge. The information contained
   within this affidavit does not represent every fact learned by law enforcement during the course
   of the investigation. Rather, I have only included information sufficient to establish probable
   cause for the requested criminal complaints.




                                                    1
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH*SEALED*
                            Document
                                  Document
                                     12 Filed3-3
                                               06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 4 ofPage
                                                                                   83 4
     Case: 5:21-mj-05209-MAS Doc #: 1-3 of 23 06/22/21 Page: 4 of 23 - Page ID#: 92
                                        Filed:




          BACKGROUND: LAW AND REGULATIONS RELATED TO TO WILDLIFE
          TRAFFICKING


            5.     The Convention on International Trade in Endangered Species of Wild Fauna and
   Flora (“CITES”), was signed by the United States in 1973 and became effective in 1975.
   CITES, March 3, 27 U.S.T. 1087, 993 U.N.T.S. 243. CITES regulate the international trade in
   wildlife by placing species onto three “Appendices” based on the species’ relative threatened
   status: species on Appendix One are the most seriously threatened and, therefore the most
   restricted; species on Appendix Two are not as threatened and can be traded with an appropriate
   permit; species on Appendix Three are those that are of concern only in a particular country and
   are the least regulated.

           6.      The Endangered Species Act (“ESA”), 16 U.S.C. § 1531, et seq., implements the
   provisions of the Convention on International Trade in Endangered Species of Wild Fauna and
   Flora (“CITES”), which was signed by the United States in 1973 and became effective in 1975.
   CITES, March 3, 27 U.S.T. 1087, 993 U.N.T.S. 243 CITES, available at
   www.cites.org/eng/disc/text.php. 16 U.S.C. §1537(a). Species listed by CITES 180 member
   nations are placed on one of three appendices and given a sliding scale of protection. 50 C.F.R.
   Part 23. Appendix I includes species threatened with extinction and is the most restrictive,
   banning plant trade between two countries for commercial purposes. Appendix II allows
   commercial trade under permit for species not yet considered in danger of imminent extinction
   but which must be controlled in order to avoid utilization incompatible with survival. Appendix
   III contains species that are protected in at least one country which has asked the other CITES
   countries for assistance in controlling trade.

           7.     Among the ways in which the ESA implements CITES is by providing for trade
   in sport hunted animals, providing that the duly-constituted CITES authority in the country from
   which the animal is hunted issues a CITES permit certifying that such trade is consistent with
   CITES. 50 C.F.R. §§ 14.61, 23.20; 23.27 & 23.74.

            8.     The ESA makes it unlawful for any person to violate any regulation pertaining to
   endangered or threatened species listed by the Secretary of the Interior or Commerce. 16 U.S.C.
   § 1538(a)(2); 50 C.F.R. §§ 17.8; 23.13. With exceptions not relevant here, the Secretary of the
   Interior requires that importers file U.S. Fish and Wildlife Service (“FWS”) Form 3-177 entitled
   “Declaration for Importation or Exportation of Fish or Wildlife.” 50 C.F.R. § 14.61. The person
   filing this form, or his or her agent, must certify that the information in the form is “true and
   complete to the best of his/her knowledge and belief.” Id. Form 3-177 is thus signed by the
   importer or agent under penalty of perjury.

          9.      Consistent with the United States’s responsibilities under CITES, FWS Form 3-
   177 requires that hunters describe the purpose of their import and provide relevant CITES
   permits for any CITES-protect animal. This information is material to FWS’s administration of
   the ESA and other laws because CITES and other laws allow importation only for certain


                                                   2
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH*SEALED*
                            Document
                                  Document
                                     12 Filed3-3
                                               06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 5 ofPage
                                                                                   83 5
     Case: 5:21-mj-05209-MAS Doc #: 1-3 of 23 06/22/21 Page: 5 of 23 - Page ID#: 93
                                        Filed:




   purposes. For example, CITES allows trade in “sport hunted” trophies. To qualify as a sport-
   hunted trophy, the animal, its parts, or its derivatives must meet certain criteria, including that it
   be “legally obtained by the hunter for his or her personal use.” 50 C.F.R. § 23.74.

           10.     Accordingly, a person seeking to import an animal into the United States after a
   hunt in a foreign country subject to CITES must meet the criteria in § 23.74 and have a valid
   CITES permit for the trophy they seek to import into the United States. 50 C.F.R. §§ 17.8;
   23.20; 23.23. Among other things, the CITES permit requires (1) the identification of the
   animal, (2) the source of the animal, and (3) the purpose of the killing of the animal. Id.
   Obtaining a hunting trophy is among those valid purposes. Id.

            THERE IS PROBABLE CAUSE TO BELIEVE THAT CHARL LE ROUX
            KNOWINGLY SUBMITTED FALSE DOCUMENTS IN AN EFFORT TO
             FRAUDULENTLY IMPORT ANIMALS INTO THE UNITED STATES


          I.      The Shipment of 23 Animals from South Africa to Colorado

          11.     On or about February 14, 2019, a Customs Broker, whose identity is known to
   me, submitted a FWS Form 3-177 Declaration to the FWS (the “Original Declaration”) for a
   shipment scheduled to arrive in Denver, Colorado, through Denver International Airport. The
   submission was assigned confirmation number 2019DN2369366. The form identified C.F.,
   whose identity is known to me, as the “Importer/Exporter” of 23 animals:

                               Common Name                    Scientific Name

                        1           Kudu                  Tragelaphus strepsiceros

                        2           Impala                 Aepyceros melampus

                        3         Blesbuck           Damaliscus pygargus phillipsi

                        4      Burchell Zebra                 Equus burchellii

                        5      Blue Wildebeest             Connochaetes taurinus

                        6      Blue Wildebeest             Connochaetes taurinus

                        7         Gemsbok                      Oryx gazelle

                        8           Nyala                   Tragelaphus angasii

                        9           Kudu                  Tragelaphus strepsiceros




                                                      3
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH*SEALED*
                            Document
                                  Document
                                     12 Filed3-3
                                               06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 6 ofPage
                                                                                   83 6
     Case: 5:21-mj-05209-MAS Doc #: 1-3 of 23 06/22/21 Page: 6 of 23 - Page ID#: 94
                                        Filed:




                             Common Name                  Scientific Name

                      10          Impala                Aepyceros melampus

                      11         Blesbuck         Damaliscus pygargus phillipsi

                      12      Burchell Zebra              Equus burchellii

                      13         Gemsbok                    Oryx gazelle

                      14          Nyala                 Tragelaphus angasii

                      15        Bushbuck                Tragelaphus scriptus

                      16     Chacma Baboon                 Papio ursinus

                      17      Burchell Zebra              Equus burchellii

                      18         Warthog               Phacochoerus africanus

                      19         Warthog               Phacochoerus africanus

                      20         Warthog               Phacochoerus africanus

                      21 Mountain Reedbuck              Redunca fulvorufula

                      22        Springbock             Antidorcas marsuplalis

                      23         Lechwe                     Kobus leche


          Both the Red Lechwe (Kobus Leche) and the Baboon (Papio ursinus), highlighted above,
   are listed on Appendix II of CITES. The Lechwe is also listed as a threatened species under the
   Endangered Species Act. 50 C.F.R. § 17.11. This means that importing the animals into the
   United States is only allowed for specific purposes consistent with CITES, such as obtaining a
   sport-hunted trophy. 50 C.F.R. §§ 17.8; 17.21 17.31; 23.13; 23.74. Box 5 of the Original
   Declaration, used to input the code designating the purpose of the shipment, contained the letter
   “H.” That is the code used to declare the animals as sport-hunted trophies. That code would only
   be appropriate if C.F. personally hunted each of the 23 animals.

          12.     The forms attached to the Original Declaration all represented that C.F. was the
   hunter of the 23 animals:

                  a.      CITES permit 216600, dated December 3, 2018, identified the importer as
   C.F.. Like the Original Declaration itself, the CITES permit declared the Lechwe and the Baboon


                                                   4
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH*SEALED*
                            Document
                                  Document
                                     12 Filed3-3
                                               06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 7 ofPage
                                                                                   83 7
     Case: 5:21-mj-05209-MAS Doc #: 1-3 of 23 06/22/21 Page: 7 of 23 - Page ID#: 95
                                        Filed:




   to be sport-hunted trophies. The CITES permit states that it is not transferrable. It further warns
   that failure to comply with any of the permit conditions renders the permit invalid and may result
   in criminal proceedings, cancellation of the permits, and seizure of consignments.

                  b.      “South African Professional Hunting Register and Trophy Application”
   EC 25319 described a hunt between April 13, 2018 and April 24, 2018 (the “Original Hunting
   Register”). The Original Hunting Register bears a signature in the name of C.F. and further
   identifies him with an address and a passport number. The date next to the signature is April 23,
   2018. The Original Hunting Register identifies C.F. as the hunter of the 23 animals listed in the
   Original Declaration, as well as an additional warthog. It also identifies CHARL LE ROUX as
   the “Professional Hunter” and “Hunting Outfitter” providing the hunt and contains signatures in
   his name.

                    c.     Hunting License 44789 identifies C.F. as a license-holder (the “Original
   Hunting License”). The Original Hunting License further identifies C.F. with his address. It also
   contains a signature in C.F.’s name, dated April 3, 2018. The front of the license says, in all-
   capital letters surrounded by a box, “NOT TRANSFERRABLE.” This is consistent with Section
   27 of the Nature and Environmental Conservation Ordinance of 1974, which governs hunts in
   the Eastern Cape Province. That section provides in pertinent part that “no person shall hunt any
   protected wild animal — during any hunting season, unless he is the holder of a . . . license in the
   prescribed form . . . or at any other time unless he is the holder of a permit to do so.”

                    d.       Two documents identified as “Permit to Export Wild Animal Products Out
   of the Eastern Cape Province” bearing numbers 201806000003418 and 201806000005790
   collectively authorized the export of the 23 animals above to C.F. at his address in the United
   States (the “Original Export Permits”). These permits, like the hunting license, stated on their
   face in all capital letters “NOT TRANSFERRABLE.”

                   e.     A document entitled “True Reflection Taxidermy Invoice” also described
   the 23 animals listed in the Original Declaration. The invoice, dated April 23, 2018, listed
   CHARL LE ROUX and the SUBJECT GOOGLE EMAIL ACCOUNT as a means of contact.
   Handwritten next to each of the animals listed on the invoice were names. “Clint” — which I
   believe, based on other evidence gathered in this case is a reference to C.F. — is next to some,
   “Brian,” — which I believe, based on other evidence gathered in this case is a reference to B.C.
   — is next to others, and “Lane” — which I believe, based on other evidence gathered in this case
   is a reference to L.L. — is listed next to others. Some animals have two or even all three names
   next to them.

            13.    On or about February 15, 2019, a FWS Wildlife Inspector Tracy Ellis stationed at
   Denver International Airport inspected the shipment of 23 animals, which were being held at an
   authorized taxidermy business in Broomfield, Colorado. The shipment contained the 23 animals
   listed in the Original Declaration. However, each of the animals had one of three different tags
   on them.



                                                    5
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH*SEALED*
                            Document
                                  Document
                                     12 Filed3-3
                                               06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 8 ofPage
                                                                                   83 8
     Case: 5:21-mj-05209-MAS Doc #: 1-3 of 23 06/22/21 Page: 8 of 23 - Page ID#: 96
                                        Filed:




            14.    The Wildlife Inspector Tracy Ellis called the Customs Broker on February 15,
   2019 to ask whether all of the animals actually belonged to C.F., as represented in the Original
   Declaration. The Customs Broker responded to the Wildlife Inspector by, among other things,
   forwarding correspondence with the SUBJECT OULOOK ACCOUNT associated with C.F..
   One of those emails, sent from the SUBJECT OUTLOOK ACCOUNT to the broker at
   approximately 9:40 a.m., stated that there were “3 of us and identified them as B.C., L.L. and
   “myself” (C.F.). Later that same day, at approximately 10:34, the Customs Broker emailed the
   Wildlife Inspector with an “attached breakdown of trophies” and noting “as you can see, there is
   a problem.” Attached to the email was another copy of the True Reflection Taxidermy Invoice
   listing the 23 animals and, type-written next to each one, the corresponding hunter:

               Common Name                    Scientific Name                       Hunter

    1                Kudu                 Tragelaphus strepsiceros                    C.F.

    2               Impala                  Aepyceros melampus                        C.F.

    3              Blesbuck            Damaliscus pygargus phillipsi                  C.F.

    4           Burchell Zebra                Equus burchellii                        C.F.

    5          Blue Wildebeest             Connochaetes taurinus                      C.F.

    6          Blue Wildebeest             Connochaetes taurinus                      C.F.

    7              Gemsbok                      Oryx gazelle                          C.F.

    8               Nyala                   Tragelaphus angasii                       C.F.

    9                Kudu                 Tragelaphus strepsiceros                    L.L.

   10               Impala                  Aepyceros melampus                        L.L.

   11              Blesbuck            Damaliscus pygargus phillipsi                  L.L.

   12           Burchell Zebra                Equus burchellii                        L.L.

   13              Gemsbok                      Oryx gazelle                          L.L.

   14               Nyala                   Tragelaphus angasii                       L.L.

   15             Bushbuck                  Tragelaphus scriptus                      L.L.




                                                  6
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH*SEALED*
                            Document
                                  Document
                                     12 Filed3-3
                                               06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 9 ofPage
                                                                                   83 9
     Case: 5:21-mj-05209-MAS Doc #: 1-3 of 23 06/22/21 Page: 9 of 23 - Page ID#: 97
                                        Filed:




               Common Name                     Scientific Name                        Hunter

   16          Chacma Baboon                    Papio ursinus                          L.L.

   17           Burchell Zebra                 Equus burchellii                        B.C.

   18              Warthog                 Phacochoerus africanus                      B.C.

   19              Warthog                 Phacochoerus africanus                      B.C.

   20              Warthog                 Phacochoerus africanus                      B.C.

   21         Mountain Reedbuck              Redunca fulvorufula                       B.C.

   22             Springbock                Antidorcas marsuplalis                     B.C.

   23               Lechwe                       Kobus leche                           B.C.


          15.    Wildlife Inspector Tracy Ellis also called C.F., B.C., and L.L. on February 15,
   2019. In sum and substance and in pertinent part, each respectively made the following
   statements:

                  a.     C.F. stated that (1) he hunted in South Africa with B.C. and L.L. in April
   2018 for twelve days, (2) some of the animals in the shipment belong to B.C. and L.L., (3) the
   hunt was with CHARL LE ROUX, the owner of Rosedale Safaris and True Reflection
   Taxidermy, (4) he, B.C., and L.L. “drew straws” to determine who would have his name put on
   the shipment, (5) CHARL LE ROUX told them they could put only one name on their shipment,
   (6) True Reflection Taxidermy set up the required export permits, and (7) he did not kill the
   Lechwe or the Baboon.

                   b.      B.C. confirmed that he hunted with C.F. and L.L. in April 2018 as part of
   a safari organized through CHARL LE ROUX. He also stated that (1) he killed the Lechwe, (2)
   he was never informed of the Lechwe’s CITES status, (3) the three of them decided to put their
   collective trophies into one shipment, which they didn’t see as an issue, and (4) he had
   previously exported trophies from South Africa to the United States in one shipment combining
   animals taken by himself, his brother and his father in law. 1


          1
            Records show that a shipment of approximately 27 animals cleared the port of Las
   Angeles in or about December 2016. That shipment was similar to the 2018 shipment described
   throughout this affidavit in that all the animals were declared by one hunter and the hunt was
   with CHARL LE ROUX. Paperwork associated with that shipment lists
   charlleroux3@gmail.com as a means of contacting LE ROUX.


                                                   7
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH*SEALED*
                            Document
                                  Document
                                     12 Filed
                                            3-306/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 10 Page
                                                                                 of 83 10
                                        of 23 06/22/21 Page: 10 of 23 - Page ID#: 98
     Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




                   c.      L.L., too, confirmed that he went hunting with C.F. and B.C. in April 2018
    through CHARL LE ROUX. He also stated that (1) he did not know the Baboon was a CITES
    species and (2) the Original Declaration was a simple error. L.L. said they weren’t smuggling
    and asked why they couldn’t just change the respective permits to get the shipment through.

           II.     The Submission of Falsified Paperwork To Falsely Support the Shipment

            16.     A man identifying himself as CHARL LE ROUX called the Wildlife Inspector at
    approximately 10:20 a.m. on February 19, 2020. LE ROUX stated that he was calling on behalf
    of C.F., B.C., and L.L. about the hunting trophies that were being inspected in Denver. LE
    ROUX claimed that he files similar paperwork with the South African authorities on a regular
    basis to get the required export permits. Later, at approximately 10:46 a.m., the person using the
    email account charlleroux3@gmail.com sent an email to the wildlife inspector stating, in
    pertinent part, “Ive spoken to my gov and Ill be going there tomorrow to issue 2 new cities [sic]
    permits for the Lechwe and Baboon.” The sender identified himself as CHARL LE ROUX.

            17.    Wildlife Inspector Tracy Ellis sent an email to charlleroux3@gmail.com on
    March 4, 2019 asking for a copy of the respective hunting licenses for C.F., B.C., and L.L.. On
    or about March 5, 2019 the person using the charlleroux3@gmail.com responded: “please find
    the attached hunting licenses.”

                    a.     Hunting License 44776 was attached to that email (the “March 5 B.C.
    License”). The license is issued to B.C. However, below that name I can see the impressions of
    what appear to be someone else’s name. Moreover, although I am not a handwriting expert, I
    can see that the signature on the license does not appear to match the signature in B.C.’s name on
    a power-of-attorney provided to the Customs Broker:




                                                    8
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH*SEALED*
                            Document
                                  Document
                                     12 Filed
                                            3-306/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 11 Page
                                                                                 of 83 11
                                        of 23 06/22/21 Page: 11 of 23 - Page ID#: 99
     Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




                   b.      A South African Professional Hunting Register and Trophy Export
    Application with number EC 25334 was also attached to the March 5, 2019 email (the “March 5
    B.C. Hunting Register”). This register identified B.C. as the client and listed his passport
    number. Unlike the Original Hunting Register, which described the hunt as ending on April 24,
    2018, the March 5 B.C. Hunting Register describes the hunt as ending on April 20, 2018. The
    document contains a signature in B.C.’s name, dated April 20, 2018. Although I am not a
    handwriting expert, I do not believe that the signature on the March 5 B.C. Hunting Register
    matches the signature for B.C. appearing on power-of-attorney forms submitted to the Customs
    Broker.




                                                  9
            Case
              Case
                 1:21-mj-00108-MEH
                    1:21-mj-00108-MEH
                                    *SEALED*
                                       Document
                                             Document
                                                 12 Filed
                                                        3-3
                                                          06/30/21
                                                              Filed 06/22/21
                                                                     USDC Colorado
                                                                             USDC Colorado
                                                                                     Page 12 Page
                                                                                              of 83 12
                                                    of 23 06/22/21 Page: 12 of 23 - Page ID#: 100
                Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




              c.    A new version of hunting license 44789, issued to L.L., was attached to that email (the “March 5 L.L.
License.”) The March 5 L.L. License is shown below on the right; the Original License is shown below on the left:




                                                                10
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                     12 Filed
                                            3-3
                                              06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 13 Page
                                                                                  of 83 13
                                        of 23 06/22/21 Page: 13 of 23 - Page ID#: 101
    Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




    The March 5, 2019 L.L. License bears indicia of being false and fraudulent. It (1) has the same
    license number as the Original License but different names and addresses, (2) appears to have
    L.L.’s name and address written over previous information for C.F. and (3) despite being in
    L.L.’s name has a signature in C.F.’s name.

                    d.      A South African Professional Hunting Register and Trophy Export
    Application was also attached to the March 5, 2019 email (the “March 5 L.L. Hunting
    Register”). The scan of the document was off-center and, as a result, the top part of the
    application with its number and the date of the hunt is cut off. This register identified L.L. as the
    client and listed his passport number. The document contains a signature in L.L.’s name, dated
    April 20, 2018. Although I am not a handwriting expert, I do not believe that the signature on
    the March 5 L.L. Hunting Register matches the signature for L.L. appearing on power-of-
    attorney forms submitted to the Customs Broker.

                    e.     Hunting License 59551 was attached to that email (the “March 5 C.F.
    Hunting License”). The license is issued to C.F.. However, despite being issued to C.F. it has a
    different hunting license number than the Original Hunting License, which was also issued to
    C.F. Furthermore, the March 5 C.F. Hunting does not contain C.F.’s complete address. Finally,
    the signature in the name of C.F. on the March 5 C.F. Hunting License does not match the
    signature in the same name on the Original Hunting License, the signature in the same name on
    the Original Hunting Register, or the signature in the same name appearing on power-of-attorney
    forms submitted to the Customs Broker.




                                                     11
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                     12 Filed
                                            3-3
                                              06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 14 Page
                                                                                  of 83 14
                                        of 23 06/22/21 Page: 14 of 23 - Page ID#: 102
    Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




           18.     A South African Professional Hunting Register and Trophy Export Application
    with number EC 25336 was also attached to the March 5, 2019 email (the “March 5 C.F.
    Hunting Register”). This register identified C.F. as the client and listed his passport number.
    Unlike the Original Hunting Register, which described the hunt as ending on April 24, 2018, the
    March 5 C.F. Hunting Register describes the hunt as ending on April 20, 2018. The document
    contains a signature in C.F.’s name, dated April 20, 2018. This is different from the date in the
    Original Hunting Register, which was April 23, 2018. Although I am not a handwriting expert, I
    do not believe that the signature on the March 5 C.F. Hunting Register matches the signature for
    C.F. appearing on the Original Hunting License, the Original Hunting Register, or power-of-
    attorney forms submitted to the Customs Broker.

            19.     On March 7, 2019 the Customs Broker sent to the Wildlife Inspector emails
    attaching the respective power-of-attorney forms for C.F., B.C., and L.L. referenced above.

            20.     That same day — March 7, 2019 — the person using the
    charlleroux3@gmail.com account sent an email to the Wildlife Inspector stating that hunting
    licenses are “issued before the hunt starts.” This is consistent with my experience investigating
    hunting-related crimes: licenses must be issued before the hunt takes place and any effort to
    backdate a hunting license would be illegitimate.



                                                    12
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                     12 Filed
                                            3-3
                                              06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 15 Page
                                                                                  of 83 15
                                        of 23 06/22/21 Page: 15 of 23 - Page ID#: 103
    Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




           21.     I personally interviewed the Customs Broker on June 14, 2019, accompanied by
    the Wildlife Inspector. In sum and substance and in pertinent part, the Customs Broker made the
    following statements:

                   a.      Among the services Customs Broker provides to clients is completing the
    documents required to clear a shipment of trophies through inspections, including relevant FWS
    inspections. In order to do this, Customs Broker receives a power-of-attorney from the client. In
    this case, Customs Broker initially interacted with C.F. and, at first, only had a power-of-attorney
    from him.

                   b.      Customs Broker completed the Original Declaration with the authority
    granted him by C.F.’s power-of-attorney and based on the documents and representations made
    by C.F.. As a result, he used the code for sport-hunted trophies — putting an “H” into block 5 of
    the Original Declaration. Although he did not have a specific conversation with C.F. prior to
    submitting the Original Declaration, C.F. received the document before it was submitted and
    never made any changes or suggested that it was inaccurate.

                    c.    C.F. represented to Customs Broker that he was importing the shipment.
    C.F. did not claim any of the animals belonged to anyone else until after Wildlife Inspector
    identified problems with the shipment. Based on the documents provided by C.F., Customs
    Broker had no reason to believe the trophies belonged to anyone but C.F.. If Customs Broker
    had known that animals belonged to others, he would have asked for their respective power-of-
    attorney.

                  d.        When Customs Broker told C.F. about the problem with the shipment,
    C.F. expressed irritation and stated that he believed they could combine the shipment because
    they were family members.

           III.      The Submission of a False Affidavit to Further Support the Shipment

            22.     On October 28, 2019, an attorney claiming to represent C.F., B.C., and L.L. sent
    to an attorney for the government an email with an attached document. The document comprised
    an affidavit from CHARL LE ROUX and five referenced pictures. The affidavit provided a
    South African ID number 8803285101084 and contained a signature in LE ROUX’s name dated
    October 3, 2019 (the “LE ROUX Affidavit”). Above the signature is the statement “I know and
    understand the contents of the above mentioned declaration. I have no objection to taking the
    prescribed oath. The prescribed oath to be binding on my conscience.” Below all of that is the
    signature of a “warrant officer” with an address in Grahamstown, South Africa. The contents of
    the LE ROUX Affidavit are reproduced below, verbatim, with the referenced pictures displayed
    under the relevant paragraphs 2:

                  a.     At the begging on hunting season I write all the hunters down in the books
    and put as much information on as I have at that time and then leave the signed area blank. This
    way I know how many books to buy at the beginning of the season. When the hunters arrive all

           2
               Errors in spelling and punctuation are reproduced here without correction.

                                                     13
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                     12 Filed
                                            3-3
                                              06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 16 Page
                                                                                  of 83 16
                                        of 23 06/22/21 Page: 16 of 23 - Page ID#: 104
    Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




    he or she does is sign and fill out the rest of the information and address where needed. That is
    why in Pic 1 you will see Clint’s hunting license uncompleted as I didn’t know his whole address
    at the time only that he was for Utah and the USA. This is a faulty hunting license as another
    client by mistake signed at the wrong spot under Clint’s name. This being my mistake I sent it to
    [Wildlife Inspector] when she requested it but actually the correct hunting license for Clint is Pic
    2 which is also the one we used to apply the export permits with.




                     b.     You will see in Pic 3 Lane has a green hunting license. This is a carbon
    copy and not the top page of the book. What happened here is the carbon paper was misplaced
    and it wrote through onto this green copy. You can clearly see in the background under Lane’s
    details the details of Clint. You can also clearly see because they have the same license number
    (44789). Another thing is Lane and Clint, Pic 2 and Pic 3 have the same signature showing that
    it truly is a carbon paper error. This I never picked up and only saw it a few days ago when I
    was going through some emails that I sent to [Wildlife Inspector]. Even South African
    government never picked this up when I applied for Lane’s export permit using the green copy.
    It just show you that the hunting license has NO real purpose in applying for an export permit as
    they are not even related. When the book gets full I throw it away as there is no point in keeping
    old used copies and books. They can anyway not be reused if a client comes back the following
    year because the hunting license is only valid for one year.



                                                    14
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                     12 Filed
                                            3-3
                                              06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 17 Page
                                                                                  of 83 17
                                        of 23 06/22/21 Page: 17 of 23 - Page ID#: 105
    Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




                   c.      The hunting license is issued by the hunting outfitter and not by the
    government. See Pic 4 and Pic 5 for examples of the book as well as a blank hunting license (Pic
    4). Note in Pic 5 the carbon paper that I’ve been referring to.




                                                  15
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                     12 Filed
                                            3-3
                                              06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 18 Page
                                                                                  of 83 18
                                        of 23 06/22/21 Page: 18 of 23 - Page ID#: 106
    Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




                    d.      In South Africa you shoot the animal and then apply for the export permit.
    In other parts of Africa, you have to apply for a permit/tag before you arrive to hunt but in South
    Africa not. Reason for this is me as a land owner, owns all the animals and the government has
    No say it what I do with them.

                    e.     When I spoke to [Wildlife Inspector] earlier in the year I explained myself
    and why we applied for everything in 1 persons name. She said things had changed and was no
    longer legal to do so. Obviously this was already to late as the trophies were already in transit
    and I have to get 3 separate export permits each in the hunters names. I told her I will do so and
    we left the conversation like that. The next day I contacted my government and explained the
    situation to them. They issued me with 3 new permits which I then sent to [Wildlife Inspector]
    as agreed. She replied to my email with a “thank you”. The way I went about reapplying for 3
    new permits was totally legal. South African government got new permits issued through the
    government not through any private person or connection.

                    f.       Regarding a Cities animal; No extra license or tag needs to be applied for
    prior to the hunt. It is just like any other plains game animal. You shoot it and then apply




                                                     16
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                     12 Filed
                                            3-3
                                              06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 19 Page
                                                                                  of 83 19
                                        of 23 06/22/21 Page: 19 of 23 - Page ID#: 107
    Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




            23.     The LE ROUX Affidavit makes several statements that are inconsistent with other
    evidence and otherwise suggestive of an effort to smuggle animals that were not hunted with
    legally valid permits:

            a.       First, the LE ROUX Affidavit does not explain the discrepancies between the
    Original Hunting Register — containing a signature in C.F.’s name dated April 23, 2018 — and
    the hunting registers submitted on March 5, 2019, which divide the animals between C.F., B.C.,
    and L.L. and which contain signatures for the three of them dated April 20, 2018. On their face,
    the March 5 Hunting Registers appear to be falsely backdated. The Original Hunting license
    signed by C.F. accounts for all 23 animals. Based on my training and experience investigating
    illegal hunts, it is unlikely that B.C. and L.L. contemporaneously signed alternate hunting
    registers — the March 5 L.L. Hunting Register and March 5 B.C. Hunting Register each likely
    contain forged and falsely backdated signatures.

            b.     Second, the LE ROUX Affidavit claims that “Pic 2,” which corresponds to the
    Original Hunting license, is valid despite the fact that it has the same number as the license in
    “Pic 3,” which corresponds to the March 5 L.L. hunting license. In my training and experience,
    each hunter must have his or her own unique license.

            c.      Third, the license shown in “Pic 3,” which corresponds in everything but color to
    the March 5 L.L. License is invalid on its face. As the affidavit admits, the license in Pic 3 bears
    a signature in the name of C.F.. However the license itself states that it “takes effect only if it is
    signed by the holder thereof.” In my training and experience, a hunter is only allowed to take an
    animal after signing a license. Even if the C.F.’s signature appears on both licenses because of a
    “carbon paper error” it would not explain why there is no license with L.L.’s signature. Finally,
    I have experience using carbon paper. The markings in Pic 3 are, in my experience, not
    consistent with impressions made from the pressure of writing on the top-level paper and are,
    instead, consistent with someone using an ink pen on the actual carbon paper to cover up the
    underlying carbon impressions.

            24.    An FWS-OLE agent interviewed CHARL LE ROUX on February 28, 2020 in
    Port Elizabeth, South Africa. LE ROUX identified himself with South African ID number
    88032851010845. During the interview he made the following statements in sum and substance
    and in pertinent part:

                  a.      LE ROUX owns approximately 400 hectares of land where he operates a
    lodge and guides hunts.

                    b.     LE ROUX explained that he buys pre-printed booklets of hunting licenses
    before each hunting season. Each book contains twenty-five individually and sequentially
    numbered licenses. Each license costs R20 (Rand). After booking the season’s hunts, he fills in
    the hunters’ names and whatever other information he has. The license is then signed by the
    respective hunter when he or she arrives. At the end of the hunt he tears off the license and
    submits it, along with the “PH hunting register book” to South Africa’s Department of
    Environmental Affairs. Eventually, he throws the hunting license book away because no one
    ever asks for old books and he does not know of any reason to keep them. LE ROUX stated that


                                                      17
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                     12 Filed
                                            3-3
                                              06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 20 Page
                                                                                  of 83 20
                                        of 23 06/22/21 Page: 20 of 23 - Page ID#: 108
    Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




    he owns the game on his private land and, as a result, claimed that he does not need permission
    or a license to shoot those animals. Rather, LE ROUX stated that licenses are only necessary
    when an animal leaves his property, especially for export. Hunters provide LE ROUX with a
    $1,000 deposit and then pay their final bill at the end of the hunt. The final bill is based on the
    animals that a hunter decides to take. LE ROUX described it as a “menu” in which the cost of
    the animal is based on the number of animals available in the area.

                    c.    LE ROUX provided a hunt to C.F., B.C., and L.L., who be believed are
    related by blood or marriage. For this reason, he believed that their hunted animals could all be
    submitted in one shipment. LE ROUX said he had talked to Wildlife Inspector 2, whose identity
    is known to me, during a trade show in Portland Oregon. LE ROUX said that Wildlife Inspector
    2 told him that he would have handled the shipment of 23 animals “differently” than Wildlife
    Inspector 1.

                   d.     LE ROUX handles all of the export paperwork for his clients. To export
    animals, he removes the first copy of the hunting license for a hunter, attaches it to the “pink”
    copy of the hunting register, after the hunter has signed it, and then sends those documents to a
    shipping agent. The shipping agent then applies for export permits, including any necessary
    CITES permit. In this case, LE ROUX believes that only C.F. would have received a copy of
    those documents from the shipping agent. LE ROUX claimed that his clients do not know
    anything about CITES permits and do not even know the CITES-status of the animals they shoot.

                    e.      LE ROUX was shown the March 5 2019 L.L. Hunting License, which
    corresponds to “Pic 3” attached to the LE ROUX Affidavit. LE ROUX stated that he wrote
    L.L.’s name on the document but blamed the shadow of C.F.’s name on “messy” carbon paper.
    The agent told LE ROUX that it appeared the document in Pic 3 was the second copy page of
    C.F.’s license, but that LE ROUX had physically written L.L.’s details on it. LE ROUX could
    not explain how this could have happened and said that he had to think about it.

                    f.      Later, the FWS Special Agent again asked LE ROUX about why the
    March 5 2019 L.L. Hunting License, referenced as “Pic 3” in LE ROUX’s affidavit, appeared to
    have L.L.’s name directly written over the carbon-copy of the Original Hunting License. LE
    ROUX could not explain why this was the case. The agent asked if it was possible that L.L.
    never had a hunting license and whether LE ROUX would have needed to later create a license
    to justify a new set of export permits. LE ROUX responded “I’m gonna say, what could have
    happened is because he threw aware the book which contained L.L.’s license, he might have
    written a new hunting permit for L.L. and somehow it,” before stoping and saying it didn’t make
    sense why he would have written over the carbon copy for the Original License.

                   g.      LE ROUX was shown the Original Hunting Register and admitted that a
    plain reading of it would indicate that C.F. had personally killed all of the listed animals. He
    also admitted that it was a false record of what each hunter had killed, but said that he did it that
    way because he thought that everything could be combined in one shipment. After the problem
    arose in Denver, LE ROUX had to go back to find the original hunting licenses. However, he
    believed that by then he had already thrown away the book with L.L.’s license. He completed
    new hunting licenses and registers for the hunters. LE ROUX said he didn’t try to forge the


                                                     18
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                     12 Filed
                                            3-3
                                              06/30/21
                                                  Filed 06/22/21
                                                         USDC Colorado
                                                                 USDC Colorado
                                                                         Page 21 Page
                                                                                  of 83 21
                                        of 23 06/22/21 Page: 21 of 23 - Page ID#: 109
    Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:




    hunter’s signatures, but that he did sign their names. LE ROUX said he knew what to put on
    each register because he had photographs of the hunters with their respective animals. LE ROUX
    denied discussing with C.F., L.L. or B.C. his plan to submit new hunting registers and said he
    could not remember whether he told them he would be signing their names.

                  h.      I interviewed Wildlife Inspector Gene Tucker on March 10, 2020, via
    telephone. Wildlife Inspector Gene Tucker remembered speaking with LE ROUX at a wildlife
    trade show. Wildlife Inspector Gene Tucker stated he told LE ROUX each hunters animals must
    be contained and submitted in separate shipments, not combined as one.


                                STATEMENT OF PROBABLE CAUSE
             25.    For the reasons set forth above I submit that there is probable cause to believe that
    on or about March 5, 2019, in the State and District of Colorado and elsewhere, the defendant
    CHARL LE ROUX did knowingly alter, conceal cover up, falsify and make false entries in a
    record, document, and tangible object, specifically Province of the Eastern Cape Hunting
    License 44789 issued to C.F., whose identity is known to me, with the intent to impede, obstruct
    and influence the investigation and proper administration of such matters within the jurisdiction
    of the United States Fish and Wildlife Service, a department and agency of the United States, and
    in relation to and in contemplation of such matter and case

           I declare under the penalty of perjury that the foregoing is true and correct to the best of

    my knowledge and belief.

                                          Respectfully Submitted,

                                          s/ William Stacy Campbell III
                                          William Stacy Campbell III
                                          Special Agent
                                          Fish and Wildlife Service, Office of Law Enforcement


    Sworn to before me this_____ day of June 2021.


    ____________________________
    Hon. Michael E. Hegarty
    United States Magistrate Judge

    Reviewed and submitted by Bryan David Fields, Assistant United States Attorney.




                                                     19
  Case
    Case
       1:21-mj-00108-MEH
          1:21-mj-00108-MEH
                          *SEALED*
                             Document
                                   Document
                                       12 Filed
                                              3-3
                                                06/30/21
                                                    Filed 06/22/21
                                                           USDC Colorado
                                                                   USDC Colorado
                                                                           Page 22 Page
                                                                                    of 83 22
                                          of 23 06/22/21 Page: 22 of 23 - Page ID#: 110
      Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:
AO 442 (Rev. 11/11) Arrest Warrant


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of Colorado


                          United States of America                         )
                                     v.                                    )
                                                                           )
                             CHARL LE ROUX                                 )      Case No.
                                                                           )
                                  Defendant                                )
                                                                           )

                                                       ARREST WARRANT
 TO:     Any authorized law enforcement officer
        YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary
 delay (name of person to be arrested)    CHARL LE ROUX   who is accused of offenses or violations based on the
 following document filed with the court:
    Indictment               Superseding Indictment            Information              Superseding Information                Complaint
    Probation Violation Petition              Supervised Release Violation Petition        Violation Notice          Order of the Court

 This offense is briefly described as follows:

         On or about March 5, 2019, in the State and District of Colorado and elsewhere, the defendant CHARL LE ROUX did
knowingly alter, conceal cover up, falsify and make false entries in a record, document, and tangible object, specifically Province of
the Eastern Cape Hunting License 44789 issued to C.F., whose identity is known to me, with the intent to impede, obstruct and
influence the investigation and proper administration of such matters within the jurisdiction of the United States Fish and Wildlife
Service, a department and agency of the United States, and in relation to and in contemplation of such matter and case.


                       All in violation of Title 18, United States Code, Section 1519
 Date:
                                                                                                 Issuing officer’s signature

City and state:
                                                                                                Printed name and title

                                                                Return
           This warrant was received on (date)                        , and the person was arrested on (date)
 at (city and state)                                                    .


 Date:
                                                                                                  Arresting officer’s signature


                                                                                                   Printed name and title
  Case
    Case
       1:21-mj-00108-MEH
          1:21-mj-00108-MEH
                          *SEALED*
                             Document
                                   Document
                                       12 Filed
                                              3-3
                                                06/30/21
                                                    Filed 06/22/21
                                                           USDC Colorado
                                                                   USDC Colorado
                                                                           Page 23 Page
                                                                                    of 83 23
                                          of 23 06/22/21 Page: 23 of 23 - Page ID#: 111
      Case: 5:21-mj-05209-MAS Doc #: 1-3 Filed:
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)

                                    This second page contains personal identifiers
                 and therefore should not be filed in court with the executed warrant unless under seal.

                                               (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which the defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                         Weight:
Sex:                                                            Race:
Hair:                                                           Eyes:
Scars, tattoos, other distinguishing marks:




History of violence, weapons, drug use:


Known family, friends and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):


Date of last contact with pretrial services or probation officer (if applicable):
        Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 24 of 83
           Case: 5:21-mj-05209-MAS Doc #: 4 Filed: 06/23/21 Page: 1 of 1 - Page ID#: 25
                                            UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF KENTUCKY
                                           CENTRAL DIVISION AT LEXINGTON
                                            CRIMINAL MINUTES – GENERAL

Magistrate No.        21-5209-MAS-1                  At Lexington                           Date June 23, 2021

USA vs Charl Le Roux                          x present        x    custody            bond            OR      Age

PRESENT:             HON. MATTHEW A. STINNETT, U.S. MAGISTRATE JUDGE

                 Samantha Howard                  Audio File                     None                   Emily Greenfield
                   Deputy Clerk                  Court Reporter               Interpreter             Assistant U.S. Attorney

                 Counsel for Defendant Brandon Marshal               X present           X retained               appointed

I, Samantha Howard, Deputy Clerk, CERTIFY the official record of this proceeding is audio file
KYED-LEX__5-21-mj-5209-MAS_20210623_134310

PROCEEDINGS: INITIAL APPEARANCE/REMOVAL HEARING

            Parties appeared for initial appearance/removal hearing on a warrant filed in Case No. 1:21-mj-108-MEH, United States
  District Court, District of Colorado, pursuant to Rule 5.1. Court advised Defendant of his constitutional rights, including his right to
  counsel. Defendant knowingly, voluntarily, and intelligently waived his right to a preliminary hearing. Defendant does not contest that
  he is the individual in the warrant from the District of Colorado. The United States does not request detention at this time.

           Pursuant to the Due Process Protections Act, the court reminds the government of its obligations under Brady v. Maryland,
  373 U.S. 83 (1963), to disclose evidence favorable to the defendant and material to the defendant's guilt or punishment. The
  government is ordered to comply with Brady and its progeny. The failure to do so in a timely manner may result in consequences,
  including dismissal of the indictment or information, exclusion of government evidence or witnesses, adverse jury instructions,
  dismissal of charges, contempt proceedings, sanctions by the Court, or any other remedy that is just under the circumstances.
  Consistent with the Due Process Protections Act, the Court orally confirmed this disclosure obligation on the record and issues this
  written order stating the same.

       After hearing statements of counsel, and being otherwise sufficiently advised, the Court HEREBY ORDERS AS
  FOLLOWS:

           1.       Defendant shall be released to the third-party custody of Mark Joseph Dougherty upon payment of the $100,000
                    bond.

           2.       The Court FINDS probable cause to believe that a crime has been committed and that the defendant committed the
                    offenses alleged in the Criminal Complaint. The matter is bound over to the grand jury in the District of Colorado
                    for further consideration.

           3.       Defendant released on conditions as set forth in a separate Order of release to appear in the District of Colorado, on
                    July 7, 2021, at 2:00 p.m. before Magistrate Judge Varholak, at the Alfred A. Arraj Courthouse, 901 19th Street
                    Denver, CO 80294




  Copies: COR, USP, USM, DCO                                 Initials of Deputy Clerk: slh        TIC: /28
        Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 25 of 83
           Case: 5:21-mj-05209-MAS Doc #: 5 Filed: 06/23/21 Page: 1 of 1 - Page ID#: 26

AO 467 (Rev. 01 /09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                                                                      G
                                                                                                                                   D
                                                                                                                                         I
                                                                                                                                             I
                                                                                                                                             J
                                                            Eastern District of Kentucky

                   United States of America                                     )
                                   V.                                          )       Case No.5:21-mj-5209
                          Chari Le Roux
                                                                               )
                                                                               )       Charging District:         District of Colorado       G
                              Defendant                                         )      Charging District's Case No. 1 :21-mj-rn8-MEH



                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the istrict court
where the charges are pending to answer those charges. If the time to appear in that court has not yet bee set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

       Alfred A. Arraj Courthouse
Pl ace:901 19th Street                                                                 Courtroom No.: A 402
       Denver, CO 80294
                                                                                       Date and Time:7/7/2021 2:00 pm

         The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the c urt where the
charges are pending.


Date:            06/23/2021
                                                                                                           Judge ·.1· signawre


                                                                         - --         - - - - - - --
                                                                                                    Hon. Matthew A. Stinnett
                                                                                                              - - - - - - - - +-   - -~---
                                                                                                         Printed name and title
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 26 of 83
   Case: 5:21-mj-05209-MAS Doc #: 6 Filed: 06/23/21 Page: 1 of 5 - Page ID#: 27
                                                               Eastern D1Btr1 ~ ot Xentuoi;y
                      UNITED STATES DISTRICT COURT                   FIL ID
                                                for the
                                      Eastern District of Kentucky                         JUN 2 3 2021
                                                                                              AT LEXINGTON
             United States of America                  )                                CURK~~
                                                       )
                           V.                          )                       Case Number
                  Chari Le Roux
                                                     I~         I        5:21-mj-05209-MAS-1                 I
                       Defendant                       )
                                                       )


                       ORDER SETTING CONDITIONS OF RELEASE
       IT IS ORDERED that the defendant's release is subject to these conditions:

       (1) The defendant must not violate federal, state, or local law while on release.

       (2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34
       U.S.C. § 40702.

       (3) The defendant must advise the court or the pretrial services office or supervising of'lcer in
       writing before making any change of residence or telephone number.

       (4) The defendant must appear in court as required and, if convicted, must surrender f s directed
       to serve a sentence that the court may impose.

       The defendant must appear at: !U.S. Courthouse as directed by Scheduling Orde or other

       Court Order.
                   I
               I ✓ Defendant must appear at all hearings in this case.
               D Defendant must appear on l - - - - - - - - - - - - - - - - - - - 1 - - - - ~
       If blank, defendant will be notified of next appearance.

        (5) The defendant must sign an Appearance Bond if ordered.

       The supervision address for Defendant will be that as stated in the PSR. Defendant may not move or
       relocate without without prior USPO approval. Defendant shall maintain full compliance with any applicable
       state bond or other restrictions.




       Defendant shall follow the directions and instructions of the USPO in implementing the
       supervision established by this Order to include meeting times, obligations, locations a1~d other
       administrative details of supervision.




                                                  1 of 5
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 27 of 83
   Case: 5:21-mj-05209-MAS Doc #: 6 Filed: 06/23/21 Page: 2 of 5 - Page ID#: 28
                               ADDITIONAL CONDITIONS OF RELEASE


  Ill" (  6) The defendant is placed in the custody of:
                                         ...---------------------------,


          who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant'
          appearance in all court proceedings, and (c) notify the court immediately if the defend nt violates
          a condition of release or is no longer in the custodian's custody.


                                                                                                     Date
  [Z]     (7) The defendant must:

    Ill   (a) submit to supervision by and report for supervision to the United States ProbatioJil
              Office, telephone number 859-233-2646, not later than:
    D     (b) continue or actively seek employment.                   ._________________,
    D     (c)   continue or start an education program.
    Ill   (d)   surrender any passport to USPO.
    Ill   (e)   not obtain a passport or other international travel document.
    Ill   (t)   abide b the followin restrictions on ersonal association, residence or travel:
                Travel restricted to the Eastern District of Kentucky and District of Colorad , .
    Ill   (g) avoid all contact, directly or indirectly, with any person who is or may be a victim ,or witness
              in the investigation or prosecution, except through counsel. This may include:     I
                I
    0     (h) get medical or psychiatric treatment:   I
                I
    O     (i) return to custody   I              Iat I             Io'clock after being released atll
                o'clock for employment, schooling, or the following purposes:!                       I

    D   (j) maintain residence at a halfway house or community corrections center, as the pr -trial service
    - /     office or supervising officer considers necessary.
    ~ (k) not possess a firearm, destructive device, or other weapon.
    D (1) not use alcohol        Dat all  D excessively.
    O (m) not use or unlawfully possess a narcotic drug or other controlled substance define in 21
            U.S.C. § 802, unless prescribed by a licensed medical practitioner.
    D (n) submit to testing for prohibited substance if required by the pretrial services office . Testing
            may be used with random frequency and may include urine testing, the wearing o, a sweat
            patch, a remote alcohol testing system, and/or any form of prohibited substance screening or
            testing. The defendant must not obstruct, attempt to obstruct, or tamper with the •fficiency
            and accuracy of prohibited substance screening or testing.




                                                   2 of 5
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 28 of 83
   Case: 5:21-mj-05209-MAS Doc #: 6 Filed: 06/23/21 Page: 3 of 5 - Page ID#: 29


    D (o) submit to an initial assessment for inpatient or outpatient substance use disorder   erapy.
              Following the treatment program based upon the assessment and analysis of pretrfal serivices:
                     0   Defendant shall be placed at:
                                                      L-------------------+------'
                     0 Defendant must pay all or part of the cost of the program based on your 1bility to pay
                       as determined by the pretrial services office or supervising officer.
    D      (p) participate in one of the following location restrictions programs and comply wi its
               requirements as directed:
                     D Curfew: You are restricted to your residence:
                             D Every day from I                  Itol.-- - - - - - .
                             D As directed by the pretrial services officer or supervising officer
                     0Home Detention: You are restricted to your residence at all times excepttor
                       employment; education; religious services; medical, substance use disord r, or
                       mental health treatment; attorney visits; court appearances; court-ordere
                       obligations; or other activities approved in advance by the pretrial services office
                       or supervising officer.
                     D Home Incarceration: You are restricted to 24-hour-a-day lock-down at y ur
                       residence except for medical necessities and court appearances or other a tivities
                       specifically approved by the court.
                     0 Stand Alone Monitoring: You have no residential curfew restrictions. However,
                       you must comply with the location or travel restrictions as imposed by th court
                       Note: This component should be used in conjunction with GPS technolo .
               submit to location monitoring as directed by pretrial service office or supervising officer 1 d
               comply with all program requirements and instructions provided. Monitoring wi 1 be [i2I GPS
               or  O  radio frequency or         O
                                             voice recognition. If the monitoring means directe by the
               Court is unavailable or unfeasible, pretrial service shall consult with the Court re!arding
               possible monitoring solutions.
                     0 Defendant must pay all or part of the cost of the program based on your a ility to pay
               as determined by the pretrial services office or supervising officer.
    D      (r) not open any new lines of credit, money market, savings and/or checking accoun                        unless
               approved by the USPO.

    IZ] (s) report as soon as possible, to the pretrial services office or supervising officer, eve , contact
            with law enforcement personnel, including arrests, questioning, or traffic stops.
      ,(

    ~      ( t) L....U-~:....._...L.a~~~!!!t.L-<.!!!l..____,!~   .a....._..!!,
                                                                          1 ,!!!
                                                                               lv\.
                                                                                 ~ ~i:::.,__~   ;:..._-~ ~ ~.!.......i-- - _ _ J




                                                            3 of 5
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 29 of 83
   Case: 5:21-mj-05209-MAS Doc #: 6 Filed: 06/23/21 Page: 4 of 5 - Page ID#: 30

                            ADVICE OF PENALTIES AND SANCTIONS



   TO THE DEFENDANT:

   YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

            Violating any of the foregoing conditions of release may result in the immed ate issuance
   of a warrant for your arrest, a revocation of your release, an order of detention, a orfeiture of
   any bond, and a prosecution for contempt of court and could result in imprisonment, a fi e, or both.
            While on release, if you commit a federal felony offense the punishment is an addi ional prison
   term of not more than ten years and for a federal misdemeanor offense the punis ment is an
   additional prison term of not more than one year. This sentence will be consecutive (i.e , in addition
   to) to any other sentence you receive.
            It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to:
   obstruct a criminal investigation; tamper with a witness, victim, or informant; retaliate r attempt to
   retaliate against a witness, victim, or informant; or intimidate or attempt to intimida e a witness,
   victim, juror, informant, or officer of the court. The penalties for tampering, re~aliation, or
   intimidation are significantly more serious if they involve a killing or attempted killi , g.
            If, after release, you knowingly fail to appear as the conditions of release re uire, or to
   surrender to serve a sentence, you may be prosecuted for failing to appear or su render and
   additional punishment may be imposed. If you are convicted of:
        (a) an offense punishable by death, life imprisonment, or imprisonment for a term o
            years or more - you will be fined not more than $250,000 or imprisoned for not
            10 years, or both;
        (b) an offense punishable by imprisonment for a term of five years or more, but less an fifteen
            years - you will be fined not more than $250,000 or imprisoned for not more than five years,
            or both;
        (c) any other felony - you will be fined not more than $250,000 or imprisoned not m re than
            two years, or both;
        (d) a misdemeanor - you will be fined not more than $100,000 or imprisoned not mo e than
            one year, or both.
  A term of imprisonment imposed for failure to appear or surrender will be consecutive to a y other
  sentence you receive. In addition, a failure to appear or surrender may result in the forfeitu e of any
  bond posted.




                                                4 of 5
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 30 of 83
   Case: 5:21-mj-05209-MAS Doc #: 6 Filed: 06/23/21 Page: 5 of 5 - Page ID#: 31

                                  Acknowledgment of the Defendant

  I acknowledge that I am the defendant in this case and that I am aware of the conditions of elease. I
  promise to obey all conditions of release, to appear as directed, and surrender to serve any entence
  imposed. I am aware of the penalties and sanctions set forth above.
                                                                    ~~?




                                                                     City and State
       Directions to the United States Marshal

       The defendant is ORDERED released after processing.*
       The United States marshal is ORDERED to keep the defendant in custody until notifie by the
                                                                                               1
       clerk or judge that the defendant has posted bond and/or complied with all other conditions for
       release. If still in custody, the defendant must be produced before the appropriate jud e at the
       time and place specified.

      Date:



                                                  Hon. Matthew A. Stinnett, United States Magistrat Judge
                                                                     Printed Na me and Title      \

   * The United States Marshals Service and any law enforcement agency having current custotiy over a
   defendant appearing before and released by the Court shall ensure that any jail facility hous ng or
   otherwise involved in a defendant's custody received immediate notice of a release order an in a
   manner that assures timely implementation of the order.




                                                 5 of 5
    Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 31 of 83
       Case: 5:21-mj-05209-MAS Doc #: 7 Filed: 06/23/21 Page: 1 of 2 - Page ID#: 32


AO 98 (Rev. 12/1 I) Appearance Bond



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                                                                               &ste,lrf \tlntullky
                                                                                                                                0


                                                      Eastern District of Kentucky                                    JUN 23 2021
                    United States of America                            )                                               AT LEXINGTON
                               V.                                       )                                            ROBERT R CARR
                                                                                                                 CLERK U.S. DISTRICT COURT
                                                                        )        Case No. 5:21-5209-MAS
                          Chari Le Roux
                                                                        )
                              Defendant                                 )

                                                          APPEARANCE BOND

                                                         Defendant's Agreement
I,                        Chari Le Roux                         (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
             ( X )       to appear for comt proceedings;
             ( X )       if convicted, to surrender to serve a sentence that the court may impose; or
             (     )     to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                Type of Bond
(    ) (1) This is a personal recognizance bond.

(    ) (2) This is an unsecured bond of$ _ _ _ _ _ _ _ _ _ _ __

(    ) (3) This is a secured bond of$ _ _ _ _ _ _ _ _ _ _ _ , secured by:

        ( X ) (a)     $ 100,000.00                   , in cash deposited with the cou1t.

        (     ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                 (describe the cash or other property, including claims on it- such as a lien, mortgage, or loan - and attach proof of
                 ownership and value);



                 If this bond is secured by real property, documents to protect the secured interest may be filed ofrecord.

        (     ) (c) a bail bond with a solvent surety (attach a copy ofthe bail bond, or describe ii and identify the surety):




                                                   Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.
  Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 32 of 83
     Case: 5:21-mj-05209-MAS Doc #: 7 Filed: 06/23/21 Page: 2 of 2 - Page ID#: 33


                                                                                                                                   Page2

AO 98 (Rev. 12/11) Appearance Bond



Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (I) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                          Declarations

Ownership of the Property. I, the defendant - and each surety - declare under penalty of perjury that:

         (I)       all owners of the property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above; and
         (3)       I will not sell the prope1ty, allow further claims to be made against it, or do anything to reduce its value
                   while this appearance bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.




I, the defendant - and each surety - declare under penalty of pe1jmy that this information is lt1J_\'~_{8""'28 U.S.C. § 1746.)


Date: _0_6_/2_3_/2_0_2_1_                                       A-~···         1/
                                                                         ~~.:,ignal:
                                                                                         /          .. •....... -·


                                                                       ~ £)"'::J~·                                          tolr2,;)12,\
                                        t'intedname                            Surety/property owner - s1gna/ur:S,d date



                Surety/property owner- printed name                            Sw·ety/property owner - signature and date



                Surety/property owner- printed name                            Surety/property owner - signature and date




                                                                  CLERK OF COURT



Da/e:~21                                                                                                                         cvl
Approved.

Date:   l,/i3/.J.,,j\
                                                                  ~ture=zs
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 33 of 83
  Case: 5:21-mj-05209-MAS Doc #: 7-1 Filed: 06/23/21 Page: 1 of 1 - Page ID#: 34




                                     -~-

                                            Court Name: US DISTRICT COURT EDKY
                                            Division: 5
                                            Receipt Number: 5032447
                                            Cashier ID: jreeder
                                            Transaction Date: 06/23/2021
                                            Payer Name: Mark Joseph Dougherty
                                            TREASURY REGISTRY
                                             For: Char! Le Roux
                                             Case/Party: D-KYE-5-21-MJ-005209-001
                                             Amount:        $100,000.00
                                            CHECK
                                             Check/Money Order Num: 34842673
                                             Amt Tendered: $100,000.00
                                            Total Due:      1100,000.00
                                            Total Tendered: 100A000.00
                                            Change Amt:       0.0u
                                                            '
                                            Surety bond Per Magistrate Judge
                                            Matthew A. Stinnett 06/23/2021
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 34 of 83
   Case: 5:21-mj-05209-MAS Doc #: 9 Filed: 06/23/21 Page: 1 of 1 - Page ID#: 39




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    LEXINGTON

   UNITED STATES OF AMERICA,                       )
                                                   )
                                                   )
          Plaintiff,                               )
                                                   )
   v.                                              )
                                                   )
   CHARL LE ROUX,                                  )         NO. 5:21-mj-05209-MAS-1
                                                   )
                                                   )                  ORDER
          Defendant.                               )
                                                   )


                                       *** *** *** ***

        Due to the presence of personally identifying information pertaining to uncharged

 individuals, the Court ORDERS that the Criminal Complaint, Affidavit, and all related documents

 (DE 1, 1-1, and 1-2) SHALL remain under seal pending further order of the Court. The Court

 further ORDERS the United States to file appropriately redacted copies of the Complaint and

 Affidavit within one week.

        Entered this the 23rd day of June, 2021.
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 35 of 83
   Case: 5:21-mj-05209-MAS Doc #: 10 Filed: 06/23/21 Page: 1 of 1 - Page ID#: 40




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     LEXINGTON

   UNITED STATES OF AMERICA,                        )
                                                    )
                                                    )
           Plaintiff,                               )
                                                    )
   v.                                               )
                                                    )
   CHARL LE ROUX,                                   )          NO. 5:21-mj-05209-MAS-1
                                                    )
                                                    )          ORDER CLARIFYING
           Defendant.                               )        CONDITIONS OF RELEASE
                                                    )


                                        *** *** *** ***

        Defendant Charl Le Roux appeared before the Court on June 23, 2021, for an initial

 appearance on a criminal complaint issued out of the District of Colorado. The Court released Le

 Roux on conditions as specified in the Order Setting Conditions of Release, including the condition

 that Le Roux submit to GPS location monitoring.          Because GPS monitoring units are not

 immediately available to the USPO in this District, as acknowledged by all parties during the

 hearing, the Court CLARIFIES the Order Setting Conditions of Release as follows:

        1. Defendant shall be released from custody effective immediately, without any
           requirement that he submit to alternative location monitoring (radio frequency, voice
           recognition, etc.) during the period before a GPS monitoring unit becomes available.
           Upon GPS unit availability, the USPO shall notify Defendant and Defendant shall
           thereafter submit to GPS location monitoring as directed by the USPO.

        Entered this the 23rd day of June, 2021.
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 36 of 83
  Case: 5:21-mj-05209-MAS Doc #: 11 Filed: 06/24/21 Page: 1 of 15 - Page ID#: 41


                                                                                          CASHBOND
                                U.S. District Court
                     Eastern District of Kentucky (Lexington)
              CRIMINAL DOCKET FOR CASE #: 5:21−mj−05209−MAS−1
                                Internal Use Only

   Case title: USA v. Le Roux                                    Date Filed: 06/22/2021
   Other court case number: 21−mj−108−SKC District of
                             Colorado

   Assigned to: Magistrate Judge
   Matthew A. Stinnett

   Defendant (1)
   Charl Le Roux                       represented by Brandon Wayne Marshall
                                                      Nash Marshall, PLLC
                                                      129 W Short St
                                                      Lexington, KY 40507
                                                      859−254−3232
                                                      Fax: 859−225−4746
                                                      Email: bwmarshall@nashmarshall.com
                                                      LEAD ATTORNEY
                                                      ATTORNEY TO BE NOTICED
                                                      Designation: Retained

   Pending Counts                                       Disposition
   None

   Highest Offense Level
   (Opening)
   None

   Terminated Counts                                    Disposition
   None

   Highest Offense Level
   (Terminated)
   None

   Complaints                                           Disposition
   18:1519.F − FALSIFICATION
   OF RECORDS



                                                                                                     1
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 37 of 83
  Case: 5:21-mj-05209-MAS Doc #: 11 Filed: 06/24/21 Page: 2 of 15 - Page ID#: 42




   Plaintiff
   USA                                            represented by Emily K. Greenfield , AUSA
                                                                 U.S. Attorney's Office, EDKY
                                                                 260 W. Vine Street
                                                                 Suite 300
                                                                 Lexington, KY 40507−1612
                                                                 859−685−4811
                                                                 Fax: 859−233−2658
                                                                 Email: Emily.Greenfield@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Assistant U.S. Attorney

                                                                   Ron L. Walker , Jr.
                                                                   U.S. Attorney's Office, EDKY
                                                                   260 W. Vine Street
                                                                   Suite 300
                                                                   Lexington, KY 40507−1612
                                                                   859−685−4889
                                                                   Fax: 859−233−2658
                                                                   Email: Ron.Walker@usdoj.gov
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED
                                                                   Designation: Assistant U.S. Attorney

    Date Filed   #   Page Docket Text
    06/22/2021   1         SEALED COMPLAINT as to Charl Le Roux (1). (Attachments: # 1 Affidavit, #
                           2 Information Sheet) (KJR) (Entered: 06/22/2021)
    06/22/2021             Conflict Check run. (KJR) (Entered: 06/22/2021)
    06/22/2021             CLERK'S VIRTUAL NOTICE re: HEARING SCHEDULE as to Charl Le Roux
                           For a defendant in custody, defense counsel shall endeavor to meet with their
                           client prior to the hearing to discuss any and all issues to be raised at the pending
                           hearing. USMS shall, working with the relevant facility, ensure that defense
                           counsel has access to the defendant at reasonable times and for reasonable
                           periods. If this is not possible, a party may file a motion with the Court seeking
                           Court guidance, if needed. cc: COR, USM, USP,D. INITIAL APPEARANCE −
                           Rule 40 set for 6/23/2021 at 02:00 PM in LEXINGTON before Magistrate Judge
                           Matthew A. Stinnett.(KJR) (Entered: 06/22/2021)
    06/23/2021   4      4 MINUTE ENTRY for INITIAL APPEARANCE IN RULE 5(c)(3) Proceedings
                          as to Charl Le Roux held on 6/23/21 before Magistrate Judge Matthew A.
                          Stinnett:Brandon Marshal appeared as RETAINED counsel of record. (1) dft
                          shall be released to the 3rd party custody of Mark Joseph Dougherty upon
                          payment of the $100,000.00 bond; (2) the court finds probable cause to believe
                          that a crime has been committed & dft committed the offenses alleged in the
                          complaint; matter is bound over to the grand jury in the District of Colorado; (3)
                          dft released on conditions set forth in a separate order of release to appear in
                          District of Colorado on 7/7/21 at 2:00 pm (Tape


                                                                                                                   2
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 38 of 83
  Case: 5:21-mj-05209-MAS Doc #: 11 Filed: 06/24/21 Page: 3 of 15 - Page ID#: 43



                          #KYED−LEX__5−21−mj−5209−MAS_20210623_134310.) Signed by
                          Magistrate Judge Matthew A. Stinnett. (KJR)cc: COR,USM,USP (Entered:
                          06/23/2021)
    06/23/2021    5    5 ORDER Requiring Defendant to Appear in the District Where Charges are
                         Pending as to Charl Le Roux. Signed by Magistrate Judge Matthew A. Stinnett
                         on 6/23/21. (KJR)cc: COR,USM,USP (Entered: 06/23/2021)
    06/23/2021    6    6 ORDER Setting Conditions of Release as to Charl Le Roux: dft released on
                         Cash Bond. Signed by Magistrate Judge Matthew A. Stinnett on 6/23/21.
                         (KJR)cc: COR,USM,USP Modified text on 6/24/2021 (KJR). (Entered:
                         06/23/2021)
    06/23/2021    7   11 Appearance Bond Entered as to Charl Le Roux in amount of $ $100,000.00,
                         Receipt # 5032447. (Attachments: # 1 receipt)(KJR) (Entered: 06/23/2021)
    06/23/2021    8   14 SEALED Surety Information Sheet as to Charl Le Roux. (KJR) (Additional
                         attachment(s) added on 6/23/2021: # 1 SEALED Surety Identification) (KJR).
                         Modified text on 6/24/2021 (KJR). (Entered: 06/23/2021)
    06/23/2021    9   18 ORDER as to Charl Le Roux: that the Criminal Complaint, Affidavit & all
                         related docs (DE 1, 1−1 & 1−2) SHALL remain UNDER SEAL; the US shall
                         file appropriately redacted copies of the Complaint & Affidavit w/in 1 week.
                         Signed by Magistrate Judge Matthew A. Stinnett on 6/23/21. (KJR)cc:
                         COR,USM,USP. Modified text on 6/24/2021 (KJR). (Entered: 06/24/2021)
    06/23/2021   10   19 ORDER CLARIFYING CONDITIONS OF RELEASE as to Charl Le Roux: re
                         6 Order Setting Conditions of Release; Dft shall be released from custody
                         effective immediately, w/out any requirement that he submit to alternative
                         location monitoring (radio frequency, voice recognition, etc.) during the period
                         before a GPS monitoring unit becomes available. Upon GPS unit availability,
                         the USPO shall notify Dft he shall submit to GPS location monitoring as
                         directed by the USPO. Signed by Magistrate Judge Matthew A. Stinnett on
                         6/23/21. (KJR)cc: COR,USM,USP (Entered: 06/24/2021)




                                                                                                            3
        Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 39 of 83
          Case:
            Case5:21-mj-05209-MAS
                 5:21-mj-05209-MAS Doc
                                    Document
                                       #: 11 Filed:
                                             4 Filed06/24/21
                                                       06/23/21Page:
                                                                 Page4 of
                                                                       1 of
                                                                          151- Page
                                                                                PageID
                                                                                    ID#:2544
                                            UNITED STATES DISTRICT COURT
                                           EASTERN DISTRICT OF KENTUCKY
                                           CENTRAL DIVISION AT LEXINGTON
                                            CRIMINAL MINUTES – GENERAL

Magistrate No.        21-5209-MAS-1                  At Lexington                           Date June 23, 2021

USA vs Charl Le Roux                          x present        x    custody            bond            OR      Age

PRESENT:             HON. MATTHEW A. STINNETT, U.S. MAGISTRATE JUDGE

                 Samantha Howard                  Audio File                     None                   Emily Greenfield
                   Deputy Clerk                  Court Reporter               Interpreter             Assistant U.S. Attorney

                 Counsel for Defendant Brandon Marshal               X present           X retained               appointed

I, Samantha Howard, Deputy Clerk, CERTIFY the official record of this proceeding is audio file
KYED-LEX__5-21-mj-5209-MAS_20210623_134310

PROCEEDINGS: INITIAL APPEARANCE/REMOVAL HEARING

            Parties appeared for initial appearance/removal hearing on a warrant filed in Case No. 1:21-mj-108-MEH, United States
  District Court, District of Colorado, pursuant to Rule 5.1. Court advised Defendant of his constitutional rights, including his right to
  counsel. Defendant knowingly, voluntarily, and intelligently waived his right to a preliminary hearing. Defendant does not contest that
  he is the individual in the warrant from the District of Colorado. The United States does not request detention at this time.

           Pursuant to the Due Process Protections Act, the court reminds the government of its obligations under Brady v. Maryland,
  373 U.S. 83 (1963), to disclose evidence favorable to the defendant and material to the defendant's guilt or punishment. The
  government is ordered to comply with Brady and its progeny. The failure to do so in a timely manner may result in consequences,
  including dismissal of the indictment or information, exclusion of government evidence or witnesses, adverse jury instructions,
  dismissal of charges, contempt proceedings, sanctions by the Court, or any other remedy that is just under the circumstances.
  Consistent with the Due Process Protections Act, the Court orally confirmed this disclosure obligation on the record and issues this
  written order stating the same.

       After hearing statements of counsel, and being otherwise sufficiently advised, the Court HEREBY ORDERS AS
  FOLLOWS:

           1.       Defendant shall be released to the third-party custody of Mark Joseph Dougherty upon payment of the $100,000
                    bond.

           2.       The Court FINDS probable cause to believe that a crime has been committed and that the defendant committed the
                    offenses alleged in the Criminal Complaint. The matter is bound over to the grand jury in the District of Colorado
                    for further consideration.

           3.       Defendant released on conditions as set forth in a separate Order of release to appear in the District of Colorado, on
                    July 7, 2021, at 2:00 p.m. before Magistrate Judge Varholak, at the Alfred A. Arraj Courthouse, 901 19th Street
                    Denver, CO 80294




  Copies: COR, USP, USM, DCO                                 Initials of Deputy Clerk: slh        TIC: /28




                                                                                                                                             4
        Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 40 of 83
          Case:
            Case5:21-mj-05209-MAS
                 5:21-mj-05209-MAS Doc
                                    Document
                                       #: 11 Filed:
                                             5 Filed06/24/21
                                                       06/23/21Page:
                                                                 Page5 of
                                                                       1 of
                                                                          151- Page
                                                                                PageID
                                                                                    ID#:2645

AO 467 (Rev. 01 /09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                                                                      G
                                                                                                                                   D
                                                                                                                                         I
                                                                                                                                             I
                                                                                                                                             J
                                                            Eastern District of Kentucky

                   United States of America                                     )
                                   V.                                          )       Case No.5:21-mj-5209
                          Chari Le Roux
                                                                               )
                                                                               )       Charging District:         District of Colorado       G
                              Defendant                                         )      Charging District's Case No. 1 :21-mj-rn8-MEH



                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the istrict court
where the charges are pending to answer those charges. If the time to appear in that court has not yet bee set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

       Alfred A. Arraj Courthouse
Pl ace:901 19th Street                                                                 Courtroom No.: A 402
       Denver, CO 80294
                                                                                       Date and Time:7/7/2021 2:00 pm

         The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the c urt where the
charges are pending.


Date:            06/23/2021
                                                                                                           Judge ·.1· signawre


                                                                         - --         - - - - - - --
                                                                                                    Hon. Matthew A. Stinnett
                                                                                                              - - - - - - - - +-   - -~---
                                                                                                         Printed name and title




                                                                                                                                                 5
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 41 of 83
  Case:
    Case5:21-mj-05209-MAS
         5:21-mj-05209-MAS Doc
                            Document
                               #: 11 Filed:
                                     6 Filed06/24/21
                                               06/23/21Page:
                                                         Page6 of
                                                               1 of
                                                                  155- Page
                                                                        PageID ID#:2746
                                                                  Eastern D1Btr1 ~ ot Xentuoi;y
                      UNITED STATES DISTRICT COURT                      FIL ID
                                                for the
                                      Eastern District of Kentucky                          JUN 2 3 2021
                                                                                              AT LEXINGTON
              United States of America                 )                                CURK~~
                                                       )
                           V.                          )                       Case Number
                  Chari Le Roux
                                                     I~         I        5:21-mj-05209-MAS-1                 I
                       Defendant                       )
                                                       )


                       ORDER SETTING CONDITIONS OF RELEASE
       IT IS ORDERED that the defendant's release is subject to these conditions:

        (1) The defendant must not violate federal, state, or local law while on release.

        (2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 34
        U.S.C. § 40702.

        (3) The defendant must advise the court or the pretrial services office or supervising of'lcer in
        writing before making any change of residence or telephone number.

        (4) The defendant must appear in court as required and, if convicted, must surrender f s directed
        to serve a sentence that the court may impose.

       The defendant must appear at: !U.S. Courthouse as directed by Scheduling Orde or other

        Court Order.
                   I
                I ✓ Defendant must appear at all hearings in this case.
                D Defendant must appear on l - - - - - - - - - - - - - - - - - - - 1 - - - - ~
        If blank, defendant will be notified of next appearance.

        (5) The defendant must sign an Appearance Bond if ordered.

       The supervision address for Defendant will be that as stated in the PSR. Defendant may not move or
       relocate without without prior USPO approval. Defendant shall maintain full compliance with any applicable
       state bond or other restrictions.




       Defendant shall follow the directions and instructions of the USPO in implementing the
       supervision established by this Order to include meeting times, obligations, locations a1~d other
       administrative details of supervision.




                                                  1 of 5

                                                                                                                    6
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 42 of 83
  Case:
    Case5:21-mj-05209-MAS
         5:21-mj-05209-MAS Doc
                            Document
                               #: 11 Filed:
                                     6 Filed06/24/21
                                               06/23/21Page:
                                                         Page7 of
                                                               2 of
                                                                  155- Page
                                                                        PageID
                                                                            ID#:2847
                               ADDITIONAL CONDITIONS OF RELEASE


  Ill" (  6) The defendant is placed in the custody of:
                                         ...---------------------------,


          who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant'
          appearance in all court proceedings, and (c) notify the court immediately if the defend nt violates
          a condition of release or is no longer in the custodian's custody.


                                                                                                     Date
  [Z]     (7) The defendant must:

    Ill   (a) submit to supervision by and report for supervision to the United States ProbatioJil
              Office, telephone number 859-233-2646, not later than:
    D     (b) continue or actively seek employment.                   ._________________,
    D     (c)   continue or start an education program.
    Ill   (d)   surrender any passport to USPO.
    Ill   (e)   not obtain a passport or other international travel document.
    Ill   (t)   abide b the followin restrictions on ersonal association, residence or travel:
                Travel restricted to the Eastern District of Kentucky and District of Colorad , .
    Ill   (g) avoid all contact, directly or indirectly, with any person who is or may be a victim ,or witness
              in the investigation or prosecution, except through counsel. This may include:     I
                I
    0     (h) get medical or psychiatric treatment:   I
                I
    O     (i) return to custody   I              Iat I             Io'clock after being released atll
                o'clock for employment, schooling, or the following purposes:!                       I

    D   (j) maintain residence at a halfway house or community corrections center, as the pr -trial service
    - /     office or supervising officer considers necessary.
    ~ (k) not possess a firearm, destructive device, or other weapon.
    D (1) not use alcohol        Dat all  D excessively.
    O (m) not use or unlawfully possess a narcotic drug or other controlled substance define in 21
            U.S.C. § 802, unless prescribed by a licensed medical practitioner.
    D (n) submit to testing for prohibited substance if required by the pretrial services office . Testing
            may be used with random frequency and may include urine testing, the wearing o, a sweat
            patch, a remote alcohol testing system, and/or any form of prohibited substance screening or
            testing. The defendant must not obstruct, attempt to obstruct, or tamper with the •fficiency
            and accuracy of prohibited substance screening or testing.




                                                   2 of 5


                                                                                                                 7
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 43 of 83
  Case:
    Case5:21-mj-05209-MAS
         5:21-mj-05209-MAS Doc
                            Document
                               #: 11 Filed:
                                     6 Filed06/24/21
                                               06/23/21Page:
                                                         Page8 of
                                                               3 of
                                                                  155- Page
                                                                        PageID
                                                                            ID#:2948


    D (o) submit to an initial assessment for inpatient or outpatient substance use disorder   erapy.
              Following the treatment program based upon the assessment and analysis of pretrfal serivices:
                     0   Defendant shall be placed at:
                                                      L-------------------+------'
                     0 Defendant must pay all or part of the cost of the program based on your 1bility to pay
                       as determined by the pretrial services office or supervising officer.
    D      (p) participate in one of the following location restrictions programs and comply wi its
               requirements as directed:
                     D Curfew: You are restricted to your residence:
                             D Every day from I                  Itol.-- - - - - - .
                             D As directed by the pretrial services officer or supervising officer
                     0Home Detention: You are restricted to your residence at all times excepttor
                       employment; education; religious services; medical, substance use disord r, or
                       mental health treatment; attorney visits; court appearances; court-ordere
                       obligations; or other activities approved in advance by the pretrial services office
                       or supervising officer.
                     D Home Incarceration: You are restricted to 24-hour-a-day lock-down at y ur
                       residence except for medical necessities and court appearances or other a tivities
                       specifically approved by the court.
                     0 Stand Alone Monitoring: You have no residential curfew restrictions. However,
                       you must comply with the location or travel restrictions as imposed by th court
                       Note: This component should be used in conjunction with GPS technolo .
               submit to location monitoring as directed by pretrial service office or supervising officer 1 d
               comply with all program requirements and instructions provided. Monitoring wi 1 be [i2I GPS
               or  O  radio frequency or         O
                                             voice recognition. If the monitoring means directe by the
               Court is unavailable or unfeasible, pretrial service shall consult with the Court re!arding
               possible monitoring solutions.
                     0 Defendant must pay all or part of the cost of the program based on your a ility to pay
               as determined by the pretrial services office or supervising officer.
    D      (r) not open any new lines of credit, money market, savings and/or checking accoun                        unless
               approved by the USPO.

    IZ] (s) report as soon as possible, to the pretrial services office or supervising officer, eve , contact
            with law enforcement personnel, including arrests, questioning, or traffic stops.
      ,(

    ~      ( t) L....U-~:....._...L.a~~~!!!t.L-<.!!!l..____,!~   .a....._..!!,
                                                                          1 ,!!!
                                                                               lv\.
                                                                                 ~ ~i:::.,__~   ;:..._-~ ~ ~.!.......i-- - _ _ J




                                                            3 of 5


                                                                                                                                   8
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 44 of 83
  Case:
    Case5:21-mj-05209-MAS
         5:21-mj-05209-MAS Doc
                            Document
                               #: 11 Filed:
                                     6 Filed06/24/21
                                               06/23/21Page:
                                                         Page9 of
                                                               4 of
                                                                  155- Page
                                                                        PageID
                                                                            ID#:3049

                             ADVICE OF PENALTIES AND SANCTIONS



   TO THE DEFENDANT:

   YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

            Violating any of the foregoing conditions of release may result in the immed ate issuance
   of a warrant for your arrest, a revocation of your release, an order of detention, a orfeiture of
   any bond, and a prosecution for contempt of court and could result in imprisonment, a fi e, or both.
            While on release, if you commit a federal felony offense the punishment is an addi ional prison
   term of not more than ten years and for a federal misdemeanor offense the punis ment is an
   additional prison term of not more than one year. This sentence will be consecutive (i.e , in addition
   to) to any other sentence you receive.
            It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to:
   obstruct a criminal investigation; tamper with a witness, victim, or informant; retaliate r attempt to
   retaliate against a witness, victim, or informant; or intimidate or attempt to intimida e a witness,
   victim, juror, informant, or officer of the court. The penalties for tampering, re~aliation, or
   intimidation are significantly more serious if they involve a killing or attempted killi , g.
            If, after release, you knowingly fail to appear as the conditions of release re uire, or to
   surrender to serve a sentence, you may be prosecuted for failing to appear or su render and
   additional punishment may be imposed. If you are convicted of:
         (a) an offense punishable by death, life imprisonment, or imprisonment for a term o
             years or more - you will be fined not more than $250,000 or imprisoned for not
             10 years, or both;
         (b) an offense punishable by imprisonment for a term of five years or more, but less an fifteen
             years - you will be fined not more than $250,000 or imprisoned for not more than five years,
             or both;
         (c) any other felony - you will be fined not more than $250,000 or imprisoned not m re than
             two years, or both;
         (d) a misdemeanor - you will be fined not more than $100,000 or imprisoned not mo e than
             one year, or both.
   A term of imprisonment imposed for failure to appear or surrender will be consecutive to a y other
   sentence you receive. In addition, a failure to appear or surrender may result in the forfeitu e of any
   bond posted.




                                                 4 of 5


                                                                                                              9
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 45 of 83
  Case:
    Case5:21-mj-05209-MAS
          5:21-mj-05209-MAS Doc
                             Document
                                #: 11 Filed:
                                       6 Filed
                                             06/24/21
                                                06/23/21
                                                       Page:
                                                          Page
                                                             10 5ofof155 - Page
                                                                           PageID
                                                                                ID#:
                                                                                  3150

                                  Acknowledgment of the Defendant

  I acknowledge that I am the defendant in this case and that I am aware of the conditions of elease. I
  promise to obey all conditions of release, to appear as directed, and surrender to serve any entence
  imposed. I am aware of the penalties and sanctions set forth above.
                                                                    ~~?




                                                                     City and State
       Directions to the United States Marshal

       The defendant is ORDERED released after processing.*
       The United States marshal is ORDERED to keep the defendant in custody until notifie by the
                                                                                               1
       clerk or judge that the defendant has posted bond and/or complied with all other conditions for
       release. If still in custody, the defendant must be produced before the appropriate jud e at the
       time and place specified.

      Date:



                                                  Hon. Matthew A. Stinnett, United States Magistrat Judge
                                                                     Printed Na me and Title      \

   * The United States Marshals Service and any law enforcement agency having current custotiy over a
   defendant appearing before and released by the Court shall ensure that any jail facility hous ng or
   otherwise involved in a defendant's custody received immediate notice of a release order an in a
   manner that assures timely implementation of the order.




                                                 5 of 5


                                                                                                            10
    Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 46 of 83
      Case:
        Case5:21-mj-05209-MAS
              5:21-mj-05209-MAS Doc
                                 Document
                                    #: 11 Filed:
                                           7 Filed
                                                 06/24/21
                                                    06/23/21
                                                           Page:
                                                              Page
                                                                 11 1ofof152 - Page
                                                                               PageID
                                                                                    ID#:
                                                                                      3251


AO 98 (Rev. 12/1 I) Appearance Bond



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                                                                               &ste,lrf \tlntullky
                                                                                                                                0


                                                      Eastern District of Kentucky                                    JUN 23 2021
                    United States of America                            )                                               AT LEXINGTON
                               V.                                       )                                            ROBERT R CARR
                                                                                                                 CLERK U.S. DISTRICT COURT
                                                                        )        Case No. 5:21-5209-MAS
                          Chari Le Roux
                                                                        )
                              Defendant                                 )

                                                          APPEARANCE BOND

                                                         Defendant's Agreement
I,                        Chari Le Roux                         (defendant), agree to follow every order of this court, or any
court that considers this case, and I further agree that this bond may be forfeited if I fail:
             ( X )       to appear for comt proceedings;
             ( X )       if convicted, to surrender to serve a sentence that the court may impose; or
             (     )     to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                Type of Bond
(     ) (1) This is a personal recognizance bond.

(     ) (2) This is an unsecured bond of$ _ _ _ _ _ _ _ _ _ _ __

(     ) (3) This is a secured bond of$ _ _ _ _ _ _ _ _ _ _ _ , secured by:

        ( X ) (a)     $ 100,000.00                   , in cash deposited with the cou1t.

        (     ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                 (describe the cash or other property, including claims on it- such as a lien, mortgage, or loan - and attach proof of
                 ownership and value);



                 If this bond is secured by real property, documents to protect the secured interest may be filed ofrecord.

        (     ) (c) a bail bond with a solvent surety (attach a copy ofthe bail bond, or describe ii and identify the surety):




                                                   Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.




                                                                                                                                             11
  Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 47 of 83
    Case:
      Case5:21-mj-05209-MAS
            5:21-mj-05209-MAS Doc
                               Document
                                  #: 11 Filed:
                                         7 Filed
                                               06/24/21
                                                  06/23/21
                                                         Page:
                                                            Page
                                                               12 2ofof152 - Page
                                                                             PageID
                                                                                  ID#:
                                                                                    3352


                                                                                                                                   Page2

AO 98 (Rev. 12/11) Appearance Bond



Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either: (I) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

                                                          Declarations

Ownership of the Property. I, the defendant - and each surety - declare under penalty of perjury that:

         (I)       all owners of the property securing this appearance bond are included on the bond;
         (2)       the property is not subject to claims, except as described above; and
         (3)       I will not sell the prope1ty, allow further claims to be made against it, or do anything to reduce its value
                   while this appearance bond is in effect.

Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions
of release set by the court or had them explained to me. I agree to this Appearance Bond.




I, the defendant - and each surety - declare under penalty of pe1jmy that this information is lt1J_\'~_{8""'28 U.S.C. § 1746.)


Date: _0_6_/2_3_/2_0_2_1_                                       A-~···         1/
                                                                         ~~.:,ignal:
                                                                                         /          .. •....... -·


                                                                       ~ £)"'::J~·                                          tolr2,;)12,\
                                        t'intedname                            Surety/property owner - s1gna/ur:S,d date



                Surety/property owner- printed name                            Sw·ety/property owner - signature and date



                Surety/property owner- printed name                            Surety/property owner - signature and date




                                                                  CLERK OF COURT



Da/e:~21                                                                                                                         cvl
Approved.

Date:   l,/i3/.J.,,j\
                                                                  ~ture=zs




                                                                                                                                           12
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 48 of 83
  Case:
   Case5:21-mj-05209-MAS
        5:21-mj-05209-MAS Doc
                          Document
                              #: 11 Filed:
                                    7-1 Filed
                                           06/24/21
                                               06/23/21
                                                     Page:
                                                        Page
                                                           13 of1 15
                                                                  of 1- Page
                                                                         PageID
                                                                             ID#:34
                                                                                  53




                                       -~-

                                              Court Name: US DISTRICT COURT EDKY
                                              Division: 5
                                              Receipt Number: 5032447
                                              Cashier ID: jreeder
                                              Transaction Date: 06/23/2021
                                              Payer Name: Mark Joseph Dougherty
                                              TREASURY REGISTRY
                                               For: Char! Le Roux
                                               Case/Party: D-KYE-5-21-MJ-005209-001
                                               Amount:        $100,000.00
                                              CHECK
                                               Check/Money Order Num: 34842673
                                               Amt Tendered: $100,000.00
                                              Total Due:      1100,000.00
                                              Total Tendered: 100A000.00
                                              Change Amt:       0.0u
                                                              '
                                              Surety bond Per Magistrate Judge
                                              Matthew A. Stinnett 06/23/2021




                                                                                       13
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 49 of 83
  Case:
    Case5:21-mj-05209-MAS
          5:21-mj-05209-MAS Doc
                             Document
                                #: 11 Filed:
                                       9 Filed
                                             06/24/21
                                                06/23/21
                                                       Page:
                                                          Page
                                                             14 1ofof151 - Page
                                                                           PageID
                                                                                ID#:
                                                                                  3954




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    LEXINGTON

   UNITED STATES OF AMERICA,                       )
                                                   )
                                                   )
          Plaintiff,                               )
                                                   )
   v.                                              )
                                                   )
   CHARL LE ROUX,                                  )         NO. 5:21-mj-05209-MAS-1
                                                   )
                                                   )                  ORDER
          Defendant.                               )
                                                   )


                                       *** *** *** ***

        Due to the presence of personally identifying information pertaining to uncharged

 individuals, the Court ORDERS that the Criminal Complaint, Affidavit, and all related documents

 (DE 1, 1-1, and 1-2) SHALL remain under seal pending further order of the Court. The Court

 further ORDERS the United States to file appropriately redacted copies of the Complaint and

 Affidavit within one week.

        Entered this the 23rd day of June, 2021.




                                                                                                   18
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 50 of 83
  Case:
   Case5:21-mj-05209-MAS
         5:21-mj-05209-MAS Doc
                            Document
                               #: 11 Filed:
                                     10 Filed
                                            06/24/21
                                                06/23/21
                                                      Page:
                                                         Page
                                                            15 of
                                                               1 of
                                                                  151- Page
                                                                        PageID
                                                                            ID#:4055




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     LEXINGTON

   UNITED STATES OF AMERICA,                        )
                                                    )
                                                    )
           Plaintiff,                               )
                                                    )
   v.                                               )
                                                    )
   CHARL LE ROUX,                                   )          NO. 5:21-mj-05209-MAS-1
                                                    )
                                                    )          ORDER CLARIFYING
           Defendant.                               )        CONDITIONS OF RELEASE
                                                    )


                                        *** *** *** ***

        Defendant Charl Le Roux appeared before the Court on June 23, 2021, for an initial

 appearance on a criminal complaint issued out of the District of Colorado. The Court released Le

 Roux on conditions as specified in the Order Setting Conditions of Release, including the condition

 that Le Roux submit to GPS location monitoring.          Because GPS monitoring units are not

 immediately available to the USPO in this District, as acknowledged by all parties during the

 hearing, the Court CLARIFIES the Order Setting Conditions of Release as follows:

        1. Defendant shall be released from custody effective immediately, without any
           requirement that he submit to alternative location monitoring (radio frequency, voice
           recognition, etc.) during the period before a GPS monitoring unit becomes available.
           Upon GPS unit availability, the USPO shall notify Defendant and Defendant shall
           thereafter submit to GPS location monitoring as directed by the USPO.

        Entered this the 23rd day of June, 2021.




                                                                                                       19
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 51 of 83
   Case: 5:21-mj-05209-MAS Doc #: 12 Filed: 06/28/21 Page: 1 of 3 - Page ID#: 56




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION
                                      LEXINGTON

 CRIMINAL CASE NO: 5:21-mj-5209-MAS

 UNITED STATES OF AMERICA                                                               PLAINTIFF


 v.


 CHARL LE ROUX                                                                      DEFENDANT


                JOINT MOTION TO MODIFY CONDITIONS OF RELEASE


        The parties, having conferred with authorities in charge of air transportation inside the

 United States, and recognizing that the Defendant lacks any other suitable identification document

 with which he might board an airplane under prevailing Transportation Security Administration

 standards, hereby jointly move the Court to set aside Condition 7(d) of the Order Setting

 Conditions of Release [D.E. 6] and replace it with the following:

                The United States Probation Office shall provide the Defendant’s
                passport to his counsel and counsel shall keep the passport secure in
                counsel’s possession except for those limited moments when, in
                counsel’s judgment, it is necessary and appropriate to temporarily
                provide the passport to the Defendant for the purposes of clearing
                airport or courthouse security, boarding an airplane, and tending to
                other matters pertinent to appearances in and resolution of United
                States District Court, District of Colorado, Case 1:21-mj-00108-
                MEH. In each instance, once the immediate necessity of the
                Defendant’s momentary possession of the passport has passed (e.g.,
                after he has successfully cleared an airport’s TSA security
                checkpoint), his counsel shall immediately retake possession of the
                passport. Should the Defendant fail to promptly return the passport
                to counsel, the latter shall immediately report the matter to
                appropriate authorities.
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 52 of 83
   Case: 5:21-mj-05209-MAS Doc #: 12 Filed: 06/28/21 Page: 2 of 3 - Page ID#: 57




                                                             Respectfully submitted,



                                                           /s/ Brandon W. Marshall
                                                               Brandon W. Marshall
                                                       NASH · MARSHALL, PLLC
                                                               129 West Short Street
                                                        Lexington, Kentucky 40507
                                                         Telephone: (859) 254-3232
                                                                Fax: (859) 225-4746
                                              E-mail: bwmarshall@nashmarshall.com
                                                  ATTORNEY FOR DEFENDANT


                                                                    With permission,


                                                             /s/ Emily K. Greenfield
                                                                 Emily K. Greenfield
                                                     U.S. Attorney’s Office, ED/KY
                                                                260 West Vine Street
                                                                            Suite 300
                                                         Lexington, Kentucky 40507
                                                         Telephone: (859) 685-4811
                                                                 Fax: (859) 233-2658
                                                E-mail: Emily.Greenfield@usdoj.gov
                                                    ASSISTANT U.S. ATTORNEY




                                       2
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 53 of 83
   Case: 5:21-mj-05209-MAS Doc #: 12 Filed: 06/28/21 Page: 3 of 3 - Page ID#: 58




                                    CERTIFICATE OF SERVICE


        I hereby certify that on June 28, 2021, I filed the foregoing through the Court’s CM/ECF
 system, which will automatically provide notice of filing to all parties in this matter or service will
 be completed by first class mail to any non-CM/ECF participants.




                                                                             /s/ Brandon W. Marshall
                                                                                 Brandon W. Marshall




                                                   3
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 54 of 83
  Case: 5:21-mj-05209-MAS Doc #: 12-1 Filed: 06/28/21 Page: 1 of 2 - Page ID#: 59




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    LEXINGTON

 CRIMINAL CASE NO: 5:21-mj-5209-MAS

 UNITED STATES OF AMERICA                                                            PLAINTIFF


 v.


 CHARL LE ROUX                                                                   DEFENDANT

                                           ORDER


        This matter is before the Court on the parties’ Joint Motion to Modify Conditions of

 Release. The Court has considered the record, and being otherwise sufficiently advised, it is

 therefore ORDERED AND ADJUDGED:

        1. The motion of the parties is GRANTED;

        2. Condition 7(d), prohibiting the Defendant’s possession of a passport, is SET ASIDE;

        3. Condition 7(d) is hereby REPLACED with the following condition:

               a. The United States Probation Office shall provide the
                  Defendant’s passport to his counsel and counsel shall keep the
                  passport secure in counsel’s possession except for those limited
                  moments when, in counsel’s judgment, it is necessary and
                  appropriate to temporarily provide the passport to the Defendant
                  for the purposes of clearing airport or courthouse security,
                  boarding an airplane, and tending to other matters pertinent to
                  appearances in and resolution of United States District Court,
                  District of Colorado, Case 1:21-mj-00108-MEH. In each
                  instance, once the immediate necessity of the Defendant’s
                  momentary possession of the passport has passed (e.g., after he
                  has successfully cleared an airport’s TSA security checkpoint),
                  his counsel shall immediately retake possession of the passport.
                  Should the Defendant fail to promptly return the passport to
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 55 of 83
  Case: 5:21-mj-05209-MAS Doc #: 12-1 Filed: 06/28/21 Page: 2 of 2 - Page ID#: 60




                counsel, the latter shall immediately report the matter to
                appropriate authorities.



 ENTERED: ______________




                                           _______________________________________
                                               UNITED STATES MAGISTRATE JUDGE




                                          2
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 56 of 83
   Case: 5:21-mj-05209-MAS Doc #: 13 Filed: 06/28/21 Page: 1 of 2 - Page ID#: 61




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                 CENTRAL DIVISION
                                    LEXINGTON

 CRIMINAL CASE NO: 5:21-mj-5209-MAS

 UNITED STATES OF AMERICA                                                            PLAINTIFF


 v.


 CHARL LE ROUX                                                                   DEFENDANT

                                           ORDER


        This matter is before the Court on the parties’ Joint Motion to Modify Conditions of

 Release. The Court has considered the record, and being otherwise sufficiently advised, it is

 therefore ORDERED AND ADJUDGED:

        1. The motion of the parties is GRANTED;

        2. Condition 7(d), prohibiting the Defendant’s possession of a passport, is SET ASIDE;

        3. Condition 7(d) is hereby REPLACED with the following condition:

               a. The United States Probation Office shall provide the
                  Defendant’s passport to his counsel and counsel shall keep the
                  passport secure in counsel’s possession except for those limited
                  moments when, in counsel’s judgment, it is necessary and
                  appropriate to temporarily provide the passport to the Defendant
                  for the purposes of clearing airport or courthouse security,
                  boarding an airplane, and tending to other matters pertinent to
                  appearances in and resolution of United States District Court,
                  District of Colorado, Case 1:21-mj-00108-MEH. In each
                  instance, once the immediate necessity of the Defendant’s
                  momentary possession of the passport has passed (e.g., after he
                  has successfully cleared an airport’s TSA security checkpoint),
                  his counsel shall immediately retake possession of the passport.
                  Should the Defendant fail to promptly return the passport to
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 57 of 83
   Case: 5:21-mj-05209-MAS Doc #: 13 Filed: 06/28/21 Page: 2 of 2 - Page ID#: 62




                counsel, the latter shall immediately report the matter to
                appropriate authorities.



          June 28, 2021
 ENTERED: ______________




                                          2
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 58 of 83
   Case: 5:21-mj-05209-MAS Doc #: 14 Filed: 06/30/21 Page: 1 of 2 - Page ID#: 63




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF KENTUCKY
                              CENTRAL DIVISION
                                 LEXINGTON

 CRIMINAL CASE NO. 5:21-MJ-05209-MAS

 UNITED STATES OF AMERICA                                                       PLAINTIFF


               MOTION TO SUBSTITUTE REDACTED DOCUMENTS


 CHARL LE ROUX

                                        * * * * *

        The United States hereby moves the Court for permission to substitute the

 redacted Criminal Complaint, Affidavit and all related documents identified as DE 1, 1-1

 and 1-2 in response to the Court’s Order of June 23, 2021 (DE 9). As grounds for this

 motion, the United States states as follows.

        The information the United States requests to redact is personal identifying

 information (PII) of other persons or the Defendant charged in the criminal complaint.

 The PII will be redacted in order to protect the identity and PII of those other persons

 and/or the PII of the Defendant.

        For the foregoing reasons, the United States respectfully requests the Court to

 permit the substitution of a redacted Criminal Complaint, Affidavit and all related

 documents, that the redacted copies of those documents be unsealed, and that the un-

 redacted original documents remain sealed until further Orders of the Court.
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 59 of 83
   Case: 5:21-mj-05209-MAS Doc #: 14 Filed: 06/30/21 Page: 2 of 2 - Page ID#: 64




                                                   Respectfully submitted,


                                                   CARLTON S. SHIER, IV.
                                                   ACTING UNITED STATES ATTORNEY


                                            By:    s/Emily K. Greenfield
                                                   Assistant United States Attorney
                                                   260 W. Vine Street, Suite 300
                                                   Lexington, Kentucky 40507-1612
                                                   (859) 685-4811
                                                   FAX (859) 233-2658
                                                   David.Marye@usdoj.gov




                               CERTIFICATE OF SERVICE

        I hereby certify that on June 30, 2021, I electronically filed the foregoing with the
 Clerk of the Court by using the CM/ECF System, which will send notice to counsel of
 record, Brandon Marshall.


                                                   /s/ Emily K. Greenfield
                                                   Assistant United States Attorney




                                               2
Case 1:21-mj-00108-MEH Document 12 Filed 06/30/21 USDC Colorado Page 60 of 83
  Case: 5:21-mj-05209-MAS Doc #: 14-1 Filed: 06/30/21 Page: 1 of 1 - Page ID#: 65




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF KENTUCKY
                               CENTRAL DIVISION
                                  LEXINGTON

 CRIMINAL CASE NO. 5:21-MJ-05209-MAS

 UNITED STATES OF AMERICA                                                    PLAINTIFF


                                          ORDER


 CHARL LE ROUX

                                        * * * * *

          The Court ORDERS that the motion of the United States to substitute a redacted

 Criminal Complaint, Affidavit and all related documents is GRANTED, and the

 unredacted original documents shall remain UNDER SEAL pending further order of the

 Court.

 Copy:          Emily K. Greenfield, Assistant United States Attorney
                Brandon Marshall, Counsel for Defendant Charl Le Roux
   Case
     Case
        1:21-mj-00108-MEH
           1:21-mj-00108-MEH
                           *SEALED*
                              Document
                                    Document
                                       12 Filed3-306/30/21
                                                      Filed 06/22/21
                                                             USDC Colorado
                                                                     USDC Colorado
                                                                           Page 61 of
                                                                                    Page
                                                                                      83 1
       Case: 5:21-mj-05209-MAS Doc #: 14-2 ofFiled:
                                              23 06/30/21 Page: 1 of 23 - Page ID#: 66



                               UNITED STATES DISTRICT COURT
                                                         for the
                                                   District of Colorado

                   United States of America                    )
                              v.                               )
                                                               )
                      CHARL LE ROUX                            )          Case No.
                                                               )
                           Defendant                           )


                                          CRIMINAL COMPLAINT

                  I, William Stacy Campbell III, the complainant in this case, state that the following is true
         to the best of my knowledge and belief:
                        On or about March 5, 2019, in the State and District of Colorado and elsewhere,
        the defendant CHARL LE ROUX did knowingly alter, conceal cover up, falsify and make false
        entries in a record, document, and tangible object, specifically Province of the Eastern Cape
        Hunting License 44789 issued to C.F., whose identity is known to me, with the intent to impede,
        obstruct and influence the investigation and proper administration of such matters within the
        jurisdiction of the United States Fish and Wildlife Service, a department and agency of the
        United States, and in relation to and in contemplation of such matter and case.

                         All in violation of Title 18, United States Code, Section 1519

                         Code Section                                            Offense Description

                  18 U.S.C. § 1519                                               Falsification of Records



         This criminal complaint is based on these facts:
                  See Affidavit attached hereto and herein incorporated by reference.

                  X Continued on attached sheet.

                                                       s/ William Stacy Campbell III
                                                                                 Complainant’s signature

                                                 William Stacy Campbell III, FWS-OLE Special Agent
                                                                                 Printed name and title

Sworn to before me and:      signed in my presence.
            submitted, attested to, and acknowledged by reliable electronic means.

Date:
                                                                                       Judge’s signature

City and state:                                          Hon. Michael E. Hegarty, U.S. Magistrate Judge
                                                                                     Printed name and title
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-306/30/21
                                                   Filed 06/22/21
                                                          USDC Colorado
                                                                  USDC Colorado
                                                                        Page 62 of
                                                                                 Page
                                                                                   83 2
    Case: 5:21-mj-05209-MAS Doc #: 14-2 ofFiled:
                                           23 06/30/21 Page: 2 of 23 - Page ID#: 67



   DEFENDANT:               CHARL LE ROUX

   YOB:                     1988

   ADDRESS (CITY/STATE): South Africa

   OFFENSE(S):              18 U.S.C. § 1519 (Falsification of Records)


   LOCATION OF OFFENSE (COUNTY/STATE): Denver, Colorado

   PENALTY:                 NMT 20 years’ imprisonment; fine of $250,000 or 2x gain/loss, whichever is
                            greater (or both a fine and imprisonment); NMT 3 years’ supervised release;
                            SA fee of $100
   AGENTS:                  FWS-OLE Special Agent William Stacy Campbell III

   AUTHORIZED BY: Bryan David Fields
                  Assistant U.S. Attorney

   ESTIMATED TIME OF TRIAL:

         X   five days or less           over five days             other

   THE GOVERNMENT

     X       will seek detention in this case             will not seek detention in this case

   The statutory presumption of detention is or is not applicable to this defendant. (Circle one)

   OCDETF CASE:                    Yes          X           No
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-306/30/21
                                                   Filed 06/22/21
                                                          USDC Colorado
                                                                  USDC Colorado
                                                                        Page 63 of
                                                                                 Page
                                                                                   83 3
    Case: 5:21-mj-05209-MAS Doc #: 14-2 ofFiled:
                                           23 06/30/21 Page: 3 of 23 - Page ID#: 68




                   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINTS
           I, William Stacy Campbell III, Special Agent with the United States Fish and Wildlife
   Service, Office of Law Enforcement (“FWS-OLE”) being duly sworn, depose and state under
   penalty of perjury that the following is true to the best of my information, knowledge and
   belief.
                         INTRODUCTION AND AGENT BACKGROUND
           1.      I make this affidavit in support of an application for a criminal complaint alleging
   that South African National CHARL LE ROUX submitted falsified hunting licenses to a United
   States Fish and Wildlife inspector for the purpose of impeding, corrupting, and influencing an
   investigation into the nature of a shipment of 23 animals, including a threatened Lechwe, and the
   proper administration of a matter relating to the import of those animals into the United States
   pursuant to the Convention on International Trade in Endangered Species and implementing laws
   and regulations.

           2.      I am a Special Agent with the U.S. Fish and Wildlife Service, Office of Law
   Enforcement. I have been a special agent with FWS-OLE for nineteen (19) years. I am
   currently assigned to investigate crimes involving the illegal importation and transportation of
   wildlife. During my tenure with FWS-OLE, I have participated in a variety of criminal wildlife
   investigations, during the course of which I have interviewed witnesses, conducted physical
   surveillance, executed search warrants, reviewed bank records, shipping records, transportation
   records, and other business records, and retrieved and analyzed information in the Law
   Enforcement Management Information System (“LEMIS”), a database used by the United States
   Fish and Wildlife Service (the “Service”) to keep track of, among other things, the declared
   importation and shipment of wildlife. Through my training, education, and experience, I am
   familiar with the techniques and methods used by individuals involved in criminal wildlife
   trafficking.

           3.     For the reasons set forth in more detail below, I submit that there is probable
   cause to believe that CHARL LE ROUX falsified a hunting license on or about March 5, 2019 in
   order to impede, obstruction, and influence a United States Fish and Wildlife inspector in her
   determination as to whether a shipment of 23 animals into the United States from South Africa
   could validly be imported into the United States.

           4.       The facts set forth in this affidavit are based on my personal knowledge as the
   investigation’s Case Agent; knowledge obtained from other individuals including law
   enforcement personnel, my review of documents, reports and other evidence. Except as
   explicitly set forth below, I have not distinguished in this affidavit between facts of which I have
   personal knowledge and facts of which I have hearsay knowledge. The information contained
   within this affidavit does not represent every fact learned by law enforcement during the course
   of the investigation. Rather, I have only included information sufficient to establish probable
   cause for the requested criminal complaints.




                                                    1
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-306/30/21
                                                   Filed 06/22/21
                                                          USDC Colorado
                                                                  USDC Colorado
                                                                        Page 64 of
                                                                                 Page
                                                                                   83 4
    Case: 5:21-mj-05209-MAS Doc #: 14-2 ofFiled:
                                           23 06/30/21 Page: 4 of 23 - Page ID#: 69




          BACKGROUND: LAW AND REGULATIONS RELATED TO TO WILDLIFE
          TRAFFICKING


            5.     The Convention on International Trade in Endangered Species of Wild Fauna and
   Flora (“CITES”), was signed by the United States in 1973 and became effective in 1975.
   CITES, March 3, 27 U.S.T. 1087, 993 U.N.T.S. 243. CITES regulate the international trade in
   wildlife by placing species onto three “Appendices” based on the species’ relative threatened
   status: species on Appendix One are the most seriously threatened and, therefore the most
   restricted; species on Appendix Two are not as threatened and can be traded with an appropriate
   permit; species on Appendix Three are those that are of concern only in a particular country and
   are the least regulated.

           6.      The Endangered Species Act (“ESA”), 16 U.S.C. § 1531, et seq., implements the
   provisions of the Convention on International Trade in Endangered Species of Wild Fauna and
   Flora (“CITES”), which was signed by the United States in 1973 and became effective in 1975.
   CITES, March 3, 27 U.S.T. 1087, 993 U.N.T.S. 243 CITES, available at
   www.cites.org/eng/disc/text.php. 16 U.S.C. §1537(a). Species listed by CITES 180 member
   nations are placed on one of three appendices and given a sliding scale of protection. 50 C.F.R.
   Part 23. Appendix I includes species threatened with extinction and is the most restrictive,
   banning plant trade between two countries for commercial purposes. Appendix II allows
   commercial trade under permit for species not yet considered in danger of imminent extinction
   but which must be controlled in order to avoid utilization incompatible with survival. Appendix
   III contains species that are protected in at least one country which has asked the other CITES
   countries for assistance in controlling trade.

           7.     Among the ways in which the ESA implements CITES is by providing for trade
   in sport hunted animals, providing that the duly-constituted CITES authority in the country from
   which the animal is hunted issues a CITES permit certifying that such trade is consistent with
   CITES. 50 C.F.R. §§ 14.61, 23.20; 23.27 & 23.74.

            8.     The ESA makes it unlawful for any person to violate any regulation pertaining to
   endangered or threatened species listed by the Secretary of the Interior or Commerce. 16 U.S.C.
   § 1538(a)(2); 50 C.F.R. §§ 17.8; 23.13. With exceptions not relevant here, the Secretary of the
   Interior requires that importers file U.S. Fish and Wildlife Service (“FWS”) Form 3-177 entitled
   “Declaration for Importation or Exportation of Fish or Wildlife.” 50 C.F.R. § 14.61. The person
   filing this form, or his or her agent, must certify that the information in the form is “true and
   complete to the best of his/her knowledge and belief.” Id. Form 3-177 is thus signed by the
   importer or agent under penalty of perjury.

          9.      Consistent with the United States’s responsibilities under CITES, FWS Form 3-
   177 requires that hunters describe the purpose of their import and provide relevant CITES
   permits for any CITES-protect animal. This information is material to FWS’s administration of
   the ESA and other laws because CITES and other laws allow importation only for certain


                                                   2
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-306/30/21
                                                   Filed 06/22/21
                                                          USDC Colorado
                                                                  USDC Colorado
                                                                        Page 65 of
                                                                                 Page
                                                                                   83 5
    Case: 5:21-mj-05209-MAS Doc #: 14-2 ofFiled:
                                           23 06/30/21 Page: 5 of 23 - Page ID#: 70




   purposes. For example, CITES allows trade in “sport hunted” trophies. To qualify as a sport-
   hunted trophy, the animal, its parts, or its derivatives must meet certain criteria, including that it
   be “legally obtained by the hunter for his or her personal use.” 50 C.F.R. § 23.74.

           10.     Accordingly, a person seeking to import an animal into the United States after a
   hunt in a foreign country subject to CITES must meet the criteria in § 23.74 and have a valid
   CITES permit for the trophy they seek to import into the United States. 50 C.F.R. §§ 17.8;
   23.20; 23.23. Among other things, the CITES permit requires (1) the identification of the
   animal, (2) the source of the animal, and (3) the purpose of the killing of the animal. Id.
   Obtaining a hunting trophy is among those valid purposes. Id.

            THERE IS PROBABLE CAUSE TO BELIEVE THAT CHARL LE ROUX
            KNOWINGLY SUBMITTED FALSE DOCUMENTS IN AN EFFORT TO
             FRAUDULENTLY IMPORT ANIMALS INTO THE UNITED STATES


          I.      The Shipment of 23 Animals from South Africa to Colorado

          11.     On or about February 14, 2019, a Customs Broker, whose identity is known to
   me, submitted a FWS Form 3-177 Declaration to the FWS (the “Original Declaration”) for a
   shipment scheduled to arrive in Denver, Colorado, through Denver International Airport. The
   submission was assigned confirmation number 2019DN2369366. The form identified C.F.,
   whose identity is known to me, as the “Importer/Exporter” of 23 animals:

                               Common Name                    Scientific Name

                        1           Kudu                  Tragelaphus strepsiceros

                        2           Impala                 Aepyceros melampus

                        3         Blesbuck           Damaliscus pygargus phillipsi

                        4      Burchell Zebra                 Equus burchellii

                        5      Blue Wildebeest             Connochaetes taurinus

                        6      Blue Wildebeest             Connochaetes taurinus

                        7         Gemsbok                      Oryx gazelle

                        8           Nyala                   Tragelaphus angasii

                        9           Kudu                  Tragelaphus strepsiceros




                                                      3
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-306/30/21
                                                   Filed 06/22/21
                                                          USDC Colorado
                                                                  USDC Colorado
                                                                        Page 66 of
                                                                                 Page
                                                                                   83 6
    Case: 5:21-mj-05209-MAS Doc #: 14-2 ofFiled:
                                           23 06/30/21 Page: 6 of 23 - Page ID#: 71




                             Common Name                  Scientific Name

                      10          Impala                Aepyceros melampus

                      11         Blesbuck         Damaliscus pygargus phillipsi

                      12      Burchell Zebra              Equus burchellii

                      13         Gemsbok                    Oryx gazelle

                      14          Nyala                 Tragelaphus angasii

                      15        Bushbuck                Tragelaphus scriptus

                      16     Chacma Baboon                 Papio ursinus

                      17      Burchell Zebra              Equus burchellii

                      18         Warthog               Phacochoerus africanus

                      19         Warthog               Phacochoerus africanus

                      20         Warthog               Phacochoerus africanus

                      21 Mountain Reedbuck              Redunca fulvorufula

                      22        Springbock             Antidorcas marsuplalis

                      23         Lechwe                     Kobus leche


          Both the Red Lechwe (Kobus Leche) and the Baboon (Papio ursinus), highlighted above,
   are listed on Appendix II of CITES. The Lechwe is also listed as a threatened species under the
   Endangered Species Act. 50 C.F.R. § 17.11. This means that importing the animals into the
   United States is only allowed for specific purposes consistent with CITES, such as obtaining a
   sport-hunted trophy. 50 C.F.R. §§ 17.8; 17.21 17.31; 23.13; 23.74. Box 5 of the Original
   Declaration, used to input the code designating the purpose of the shipment, contained the letter
   “H.” That is the code used to declare the animals as sport-hunted trophies. That code would only
   be appropriate if C.F. personally hunted each of the 23 animals.

          12.     The forms attached to the Original Declaration all represented that C.F. was the
   hunter of the 23 animals:

                  a.      CITES permit 216600, dated December 3, 2018, identified the importer as
   C.F.. Like the Original Declaration itself, the CITES permit declared the Lechwe and the Baboon


                                                   4
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-306/30/21
                                                   Filed 06/22/21
                                                          USDC Colorado
                                                                  USDC Colorado
                                                                        Page 67 of
                                                                                 Page
                                                                                   83 7
    Case: 5:21-mj-05209-MAS Doc #: 14-2 ofFiled:
                                           23 06/30/21 Page: 7 of 23 - Page ID#: 72




   to be sport-hunted trophies. The CITES permit states that it is not transferrable. It further warns
   that failure to comply with any of the permit conditions renders the permit invalid and may result
   in criminal proceedings, cancellation of the permits, and seizure of consignments.

                  b.      “South African Professional Hunting Register and Trophy Application”
   EC 25319 described a hunt between April 13, 2018 and April 24, 2018 (the “Original Hunting
   Register”). The Original Hunting Register bears a signature in the name of C.F. and further
   identifies him with an address and a passport number. The date next to the signature is April 23,
   2018. The Original Hunting Register identifies C.F. as the hunter of the 23 animals listed in the
   Original Declaration, as well as an additional warthog. It also identifies CHARL LE ROUX as
   the “Professional Hunter” and “Hunting Outfitter” providing the hunt and contains signatures in
   his name.

                    c.     Hunting License 44789 identifies C.F. as a license-holder (the “Original
   Hunting License”). The Original Hunting License further identifies C.F. with his address. It also
   contains a signature in C.F.’s name, dated April 3, 2018. The front of the license says, in all-
   capital letters surrounded by a box, “NOT TRANSFERRABLE.” This is consistent with Section
   27 of the Nature and Environmental Conservation Ordinance of 1974, which governs hunts in
   the Eastern Cape Province. That section provides in pertinent part that “no person shall hunt any
   protected wild animal — during any hunting season, unless he is the holder of a . . . license in the
   prescribed form . . . or at any other time unless he is the holder of a permit to do so.”

                    d.       Two documents identified as “Permit to Export Wild Animal Products Out
   of the Eastern Cape Province” bearing numbers 201806000003418 and 201806000005790
   collectively authorized the export of the 23 animals above to C.F. at his address in the United
   States (the “Original Export Permits”). These permits, like the hunting license, stated on their
   face in all capital letters “NOT TRANSFERRABLE.”

                   e.     A document entitled “True Reflection Taxidermy Invoice” also described
   the 23 animals listed in the Original Declaration. The invoice, dated April 23, 2018, listed
   CHARL LE ROUX and the SUBJECT GOOGLE EMAIL ACCOUNT as a means of contact.
   Handwritten next to each of the animals listed on the invoice were names. “Clint” — which I
   believe, based on other evidence gathered in this case is a reference to C.F. — is next to some,
   “Brian,” — which I believe, based on other evidence gathered in this case is a reference to B.C.
   — is next to others, and “Lane” — which I believe, based on other evidence gathered in this case
   is a reference to L.L. — is listed next to others. Some animals have two or even all three names
   next to them.

            13.    On or about February 15, 2019, a FWS Wildlife Inspector Tracy Ellis stationed at
   Denver International Airport inspected the shipment of 23 animals, which were being held at an
   authorized taxidermy business in Broomfield, Colorado. The shipment contained the 23 animals
   listed in the Original Declaration. However, each of the animals had one of three different tags
   on them.



                                                    5
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-306/30/21
                                                   Filed 06/22/21
                                                          USDC Colorado
                                                                  USDC Colorado
                                                                        Page 68 of
                                                                                 Page
                                                                                   83 8
    Case: 5:21-mj-05209-MAS Doc #: 14-2 ofFiled:
                                           23 06/30/21 Page: 8 of 23 - Page ID#: 73




            14.    The Wildlife Inspector Tracy Ellis called the Customs Broker on February 15,
   2019 to ask whether all of the animals actually belonged to C.F., as represented in the Original
   Declaration. The Customs Broker responded to the Wildlife Inspector by, among other things,
   forwarding correspondence with the SUBJECT OULOOK ACCOUNT associated with C.F..
   One of those emails, sent from the SUBJECT OUTLOOK ACCOUNT to the broker at
   approximately 9:40 a.m., stated that there were “3 of us and identified them as B.C., L.L. and
   “myself” (C.F.). Later that same day, at approximately 10:34, the Customs Broker emailed the
   Wildlife Inspector with an “attached breakdown of trophies” and noting “as you can see, there is
   a problem.” Attached to the email was another copy of the True Reflection Taxidermy Invoice
   listing the 23 animals and, type-written next to each one, the corresponding hunter:

               Common Name                    Scientific Name                       Hunter

    1                Kudu                 Tragelaphus strepsiceros                    C.F.

    2               Impala                  Aepyceros melampus                        C.F.

    3              Blesbuck            Damaliscus pygargus phillipsi                  C.F.

    4           Burchell Zebra                Equus burchellii                        C.F.

    5          Blue Wildebeest             Connochaetes taurinus                      C.F.

    6          Blue Wildebeest             Connochaetes taurinus                      C.F.

    7              Gemsbok                      Oryx gazelle                          C.F.

    8               Nyala                   Tragelaphus angasii                       C.F.

    9                Kudu                 Tragelaphus strepsiceros                    L.L.

   10               Impala                  Aepyceros melampus                        L.L.

   11              Blesbuck            Damaliscus pygargus phillipsi                  L.L.

   12           Burchell Zebra                Equus burchellii                        L.L.

   13              Gemsbok                      Oryx gazelle                          L.L.

   14               Nyala                   Tragelaphus angasii                       L.L.

   15             Bushbuck                  Tragelaphus scriptus                      L.L.




                                                  6
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-306/30/21
                                                   Filed 06/22/21
                                                          USDC Colorado
                                                                  USDC Colorado
                                                                        Page 69 of
                                                                                 Page
                                                                                   83 9
    Case: 5:21-mj-05209-MAS Doc #: 14-2 ofFiled:
                                           23 06/30/21 Page: 9 of 23 - Page ID#: 74




               Common Name                     Scientific Name                        Hunter

   16          Chacma Baboon                    Papio ursinus                          L.L.

   17           Burchell Zebra                 Equus burchellii                        B.C.

   18              Warthog                 Phacochoerus africanus                      B.C.

   19              Warthog                 Phacochoerus africanus                      B.C.

   20              Warthog                 Phacochoerus africanus                      B.C.

   21         Mountain Reedbuck              Redunca fulvorufula                       B.C.

   22             Springbock                Antidorcas marsuplalis                     B.C.

   23               Lechwe                       Kobus leche                           B.C.


          15.    Wildlife Inspector Tracy Ellis also called C.F., B.C., and L.L. on February 15,
   2019. In sum and substance and in pertinent part, each respectively made the following
   statements:

                  a.     C.F. stated that (1) he hunted in South Africa with B.C. and L.L. in April
   2018 for twelve days, (2) some of the animals in the shipment belong to B.C. and L.L., (3) the
   hunt was with CHARL LE ROUX, the owner of Rosedale Safaris and True Reflection
   Taxidermy, (4) he, B.C., and L.L. “drew straws” to determine who would have his name put on
   the shipment, (5) CHARL LE ROUX told them they could put only one name on their shipment,
   (6) True Reflection Taxidermy set up the required export permits, and (7) he did not kill the
   Lechwe or the Baboon.

                   b.      B.C. confirmed that he hunted with C.F. and L.L. in April 2018 as part of
   a safari organized through CHARL LE ROUX. He also stated that (1) he killed the Lechwe, (2)
   he was never informed of the Lechwe’s CITES status, (3) the three of them decided to put their
   collective trophies into one shipment, which they didn’t see as an issue, and (4) he had
   previously exported trophies from South Africa to the United States in one shipment combining
   animals taken by himself, his brother and his father in law. 1


          1
            Records show that a shipment of approximately 27 animals cleared the port of Las
   Angeles in or about December 2016. That shipment was similar to the 2018 shipment described
   throughout this affidavit in that all the animals were declared by one hunter and the hunt was
   with CHARL LE ROUX. Paperwork associated with that shipment lists
   charlleroux3@gmail.com as a means of contacting LE ROUX.


                                                   7
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-3
                                              06/30/21
                                                 Filed 06/22/21
                                                        USDC Colorado
                                                                USDC Colorado
                                                                        Page 70 Page
                                                                                of 83 10
    Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 10 of 23 - Page ID#: 75
                                        Filed:




                   c.      L.L., too, confirmed that he went hunting with C.F. and B.C. in April 2018
    through CHARL LE ROUX. He also stated that (1) he did not know the Baboon was a CITES
    species and (2) the Original Declaration was a simple error. L.L. said they weren’t smuggling
    and asked why they couldn’t just change the respective permits to get the shipment through.

           II.     The Submission of Falsified Paperwork To Falsely Support the Shipment

            16.     A man identifying himself as CHARL LE ROUX called the Wildlife Inspector at
    approximately 10:20 a.m. on February 19, 2020. LE ROUX stated that he was calling on behalf
    of C.F., B.C., and L.L. about the hunting trophies that were being inspected in Denver. LE
    ROUX claimed that he files similar paperwork with the South African authorities on a regular
    basis to get the required export permits. Later, at approximately 10:46 a.m., the person using the
    email account charlleroux3@gmail.com sent an email to the wildlife inspector stating, in
    pertinent part, “Ive spoken to my gov and Ill be going there tomorrow to issue 2 new cities [sic]
    permits for the Lechwe and Baboon.” The sender identified himself as CHARL LE ROUX.

            17.    Wildlife Inspector Tracy Ellis sent an email to charlleroux3@gmail.com on
    March 4, 2019 asking for a copy of the respective hunting licenses for C.F., B.C., and L.L.. On
    or about March 5, 2019 the person using the charlleroux3@gmail.com responded: “please find
    the attached hunting licenses.”

                    a.     Hunting License 44776 was attached to that email (the “March 5 B.C.
    License”). The license is issued to B.C. However, below that name I can see the impressions of
    what appear to be someone else’s name. Moreover, although I am not a handwriting expert, I
    can see that the signature on the license does not appear to match the signature in B.C.’s name on
    a power-of-attorney provided to the Customs Broker:




                                                    8
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-3
                                              06/30/21
                                                 Filed 06/22/21
                                                        USDC Colorado
                                                                USDC Colorado
                                                                        Page 71 Page
                                                                                of 83 11
    Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 11 of 23 - Page ID#: 76
                                        Filed:




                   b.      A South African Professional Hunting Register and Trophy Export
    Application with number EC 25334 was also attached to the March 5, 2019 email (the “March 5
    B.C. Hunting Register”). This register identified B.C. as the client and listed his passport
    number. Unlike the Original Hunting Register, which described the hunt as ending on April 24,
    2018, the March 5 B.C. Hunting Register describes the hunt as ending on April 20, 2018. The
    document contains a signature in B.C.’s name, dated April 20, 2018. Although I am not a
    handwriting expert, I do not believe that the signature on the March 5 B.C. Hunting Register
    matches the signature for B.C. appearing on power-of-attorney forms submitted to the Customs
    Broker.




                                                  9
            Case
              Case
                 1:21-mj-00108-MEH
                    1:21-mj-00108-MEH
                                    *SEALED*
                                       Document
                                             Document
                                                12 Filed3-3
                                                          06/30/21
                                                             Filed 06/22/21
                                                                    USDC Colorado
                                                                            USDC Colorado
                                                                                    Page 72 Page
                                                                                            of 83 12
                Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 12 of 23 - Page ID#: 77
                                                    Filed:




              c.    A new version of hunting license 44789, issued to L.L., was attached to that email (the “March 5 L.L.
License.”) The March 5 L.L. License is shown below on the right; the Original License is shown below on the left:




                                                                10
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-3
                                              06/30/21
                                                 Filed 06/22/21
                                                        USDC Colorado
                                                                USDC Colorado
                                                                        Page 73 Page
                                                                                of 83 13
    Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 13 of 23 - Page ID#: 78
                                        Filed:




    The March 5, 2019 L.L. License bears indicia of being false and fraudulent. It (1) has the same
    license number as the Original License but different names and addresses, (2) appears to have
    L.L.’s name and address written over previous information for C.F. and (3) despite being in
    L.L.’s name has a signature in C.F.’s name.

                    d.      A South African Professional Hunting Register and Trophy Export
    Application was also attached to the March 5, 2019 email (the “March 5 L.L. Hunting
    Register”). The scan of the document was off-center and, as a result, the top part of the
    application with its number and the date of the hunt is cut off. This register identified L.L. as the
    client and listed his passport number. The document contains a signature in L.L.’s name, dated
    April 20, 2018. Although I am not a handwriting expert, I do not believe that the signature on
    the March 5 L.L. Hunting Register matches the signature for L.L. appearing on power-of-
    attorney forms submitted to the Customs Broker.

                    e.     Hunting License 59551 was attached to that email (the “March 5 C.F.
    Hunting License”). The license is issued to C.F.. However, despite being issued to C.F. it has a
    different hunting license number than the Original Hunting License, which was also issued to
    C.F. Furthermore, the March 5 C.F. Hunting does not contain C.F.’s complete address. Finally,
    the signature in the name of C.F. on the March 5 C.F. Hunting License does not match the
    signature in the same name on the Original Hunting License, the signature in the same name on
    the Original Hunting Register, or the signature in the same name appearing on power-of-attorney
    forms submitted to the Customs Broker.




                                                     11
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-3
                                              06/30/21
                                                 Filed 06/22/21
                                                        USDC Colorado
                                                                USDC Colorado
                                                                        Page 74 Page
                                                                                of 83 14
    Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 14 of 23 - Page ID#: 79
                                        Filed:




           18.     A South African Professional Hunting Register and Trophy Export Application
    with number EC 25336 was also attached to the March 5, 2019 email (the “March 5 C.F.
    Hunting Register”). This register identified C.F. as the client and listed his passport number.
    Unlike the Original Hunting Register, which described the hunt as ending on April 24, 2018, the
    March 5 C.F. Hunting Register describes the hunt as ending on April 20, 2018. The document
    contains a signature in C.F.’s name, dated April 20, 2018. This is different from the date in the
    Original Hunting Register, which was April 23, 2018. Although I am not a handwriting expert, I
    do not believe that the signature on the March 5 C.F. Hunting Register matches the signature for
    C.F. appearing on the Original Hunting License, the Original Hunting Register, or power-of-
    attorney forms submitted to the Customs Broker.

            19.     On March 7, 2019 the Customs Broker sent to the Wildlife Inspector emails
    attaching the respective power-of-attorney forms for C.F., B.C., and L.L. referenced above.

            20.     That same day — March 7, 2019 — the person using the
    charlleroux3@gmail.com account sent an email to the Wildlife Inspector stating that hunting
    licenses are “issued before the hunt starts.” This is consistent with my experience investigating
    hunting-related crimes: licenses must be issued before the hunt takes place and any effort to
    backdate a hunting license would be illegitimate.



                                                    12
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-3
                                              06/30/21
                                                 Filed 06/22/21
                                                        USDC Colorado
                                                                USDC Colorado
                                                                        Page 75 Page
                                                                                of 83 15
    Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 15 of 23 - Page ID#: 80
                                        Filed:




           21.     I personally interviewed the Customs Broker on June 14, 2019, accompanied by
    the Wildlife Inspector. In sum and substance and in pertinent part, the Customs Broker made the
    following statements:

                   a.      Among the services Customs Broker provides to clients is completing the
    documents required to clear a shipment of trophies through inspections, including relevant FWS
    inspections. In order to do this, Customs Broker receives a power-of-attorney from the client. In
    this case, Customs Broker initially interacted with C.F. and, at first, only had a power-of-attorney
    from him.

                   b.      Customs Broker completed the Original Declaration with the authority
    granted him by C.F.’s power-of-attorney and based on the documents and representations made
    by C.F.. As a result, he used the code for sport-hunted trophies — putting an “H” into block 5 of
    the Original Declaration. Although he did not have a specific conversation with C.F. prior to
    submitting the Original Declaration, C.F. received the document before it was submitted and
    never made any changes or suggested that it was inaccurate.

                    c.    C.F. represented to Customs Broker that he was importing the shipment.
    C.F. did not claim any of the animals belonged to anyone else until after Wildlife Inspector
    identified problems with the shipment. Based on the documents provided by C.F., Customs
    Broker had no reason to believe the trophies belonged to anyone but C.F.. If Customs Broker
    had known that animals belonged to others, he would have asked for their respective power-of-
    attorney.

                  d.        When Customs Broker told C.F. about the problem with the shipment,
    C.F. expressed irritation and stated that he believed they could combine the shipment because
    they were family members.

           III.      The Submission of a False Affidavit to Further Support the Shipment

            22.     On October 28, 2019, an attorney claiming to represent C.F., B.C., and L.L. sent
    to an attorney for the government an email with an attached document. The document comprised
    an affidavit from CHARL LE ROUX and five referenced pictures. The affidavit provided a
    South African ID number 8803285101084 and contained a signature in LE ROUX’s name dated
    October 3, 2019 (the “LE ROUX Affidavit”). Above the signature is the statement “I know and
    understand the contents of the above mentioned declaration. I have no objection to taking the
    prescribed oath. The prescribed oath to be binding on my conscience.” Below all of that is the
    signature of a “warrant officer” with an address in Grahamstown, South Africa. The contents of
    the LE ROUX Affidavit are reproduced below, verbatim, with the referenced pictures displayed
    under the relevant paragraphs 2:

                  a.     At the begging on hunting season I write all the hunters down in the books
    and put as much information on as I have at that time and then leave the signed area blank. This
    way I know how many books to buy at the beginning of the season. When the hunters arrive all

           2
               Errors in spelling and punctuation are reproduced here without correction.

                                                     13
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-3
                                              06/30/21
                                                 Filed 06/22/21
                                                        USDC Colorado
                                                                USDC Colorado
                                                                        Page 76 Page
                                                                                of 83 16
    Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 16 of 23 - Page ID#: 81
                                        Filed:




    he or she does is sign and fill out the rest of the information and address where needed. That is
    why in Pic 1 you will see Clint’s hunting license uncompleted as I didn’t know his whole address
    at the time only that he was for Utah and the USA. This is a faulty hunting license as another
    client by mistake signed at the wrong spot under Clint’s name. This being my mistake I sent it to
    [Wildlife Inspector] when she requested it but actually the correct hunting license for Clint is Pic
    2 which is also the one we used to apply the export permits with.




                     b.     You will see in Pic 3 Lane has a green hunting license. This is a carbon
    copy and not the top page of the book. What happened here is the carbon paper was misplaced
    and it wrote through onto this green copy. You can clearly see in the background under Lane’s
    details the details of Clint. You can also clearly see because they have the same license number
    (44789). Another thing is Lane and Clint, Pic 2 and Pic 3 have the same signature showing that
    it truly is a carbon paper error. This I never picked up and only saw it a few days ago when I
    was going through some emails that I sent to [Wildlife Inspector]. Even South African
    government never picked this up when I applied for Lane’s export permit using the green copy.
    It just show you that the hunting license has NO real purpose in applying for an export permit as
    they are not even related. When the book gets full I throw it away as there is no point in keeping
    old used copies and books. They can anyway not be reused if a client comes back the following
    year because the hunting license is only valid for one year.



                                                    14
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-3
                                              06/30/21
                                                 Filed 06/22/21
                                                        USDC Colorado
                                                                USDC Colorado
                                                                        Page 77 Page
                                                                                of 83 17
    Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 17 of 23 - Page ID#: 82
                                        Filed:




                   c.      The hunting license is issued by the hunting outfitter and not by the
    government. See Pic 4 and Pic 5 for examples of the book as well as a blank hunting license (Pic
    4). Note in Pic 5 the carbon paper that I’ve been referring to.




                                                  15
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-3
                                              06/30/21
                                                 Filed 06/22/21
                                                        USDC Colorado
                                                                USDC Colorado
                                                                        Page 78 Page
                                                                                of 83 18
    Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 18 of 23 - Page ID#: 83
                                        Filed:




                    d.      In South Africa you shoot the animal and then apply for the export permit.
    In other parts of Africa, you have to apply for a permit/tag before you arrive to hunt but in South
    Africa not. Reason for this is me as a land owner, owns all the animals and the government has
    No say it what I do with them.

                    e.     When I spoke to [Wildlife Inspector] earlier in the year I explained myself
    and why we applied for everything in 1 persons name. She said things had changed and was no
    longer legal to do so. Obviously this was already to late as the trophies were already in transit
    and I have to get 3 separate export permits each in the hunters names. I told her I will do so and
    we left the conversation like that. The next day I contacted my government and explained the
    situation to them. They issued me with 3 new permits which I then sent to [Wildlife Inspector]
    as agreed. She replied to my email with a “thank you”. The way I went about reapplying for 3
    new permits was totally legal. South African government got new permits issued through the
    government not through any private person or connection.

                    f.       Regarding a Cities animal; No extra license or tag needs to be applied for
    prior to the hunt. It is just like any other plains game animal. You shoot it and then apply




                                                     16
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-3
                                              06/30/21
                                                 Filed 06/22/21
                                                        USDC Colorado
                                                                USDC Colorado
                                                                        Page 79 Page
                                                                                of 83 19
    Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 19 of 23 - Page ID#: 84
                                        Filed:




            23.     The LE ROUX Affidavit makes several statements that are inconsistent with other
    evidence and otherwise suggestive of an effort to smuggle animals that were not hunted with
    legally valid permits:

            a.       First, the LE ROUX Affidavit does not explain the discrepancies between the
    Original Hunting Register — containing a signature in C.F.’s name dated April 23, 2018 — and
    the hunting registers submitted on March 5, 2019, which divide the animals between C.F., B.C.,
    and L.L. and which contain signatures for the three of them dated April 20, 2018. On their face,
    the March 5 Hunting Registers appear to be falsely backdated. The Original Hunting license
    signed by C.F. accounts for all 23 animals. Based on my training and experience investigating
    illegal hunts, it is unlikely that B.C. and L.L. contemporaneously signed alternate hunting
    registers — the March 5 L.L. Hunting Register and March 5 B.C. Hunting Register each likely
    contain forged and falsely backdated signatures.

            b.     Second, the LE ROUX Affidavit claims that “Pic 2,” which corresponds to the
    Original Hunting license, is valid despite the fact that it has the same number as the license in
    “Pic 3,” which corresponds to the March 5 L.L. hunting license. In my training and experience,
    each hunter must have his or her own unique license.

            c.      Third, the license shown in “Pic 3,” which corresponds in everything but color to
    the March 5 L.L. License is invalid on its face. As the affidavit admits, the license in Pic 3 bears
    a signature in the name of C.F.. However the license itself states that it “takes effect only if it is
    signed by the holder thereof.” In my training and experience, a hunter is only allowed to take an
    animal after signing a license. Even if the C.F.’s signature appears on both licenses because of a
    “carbon paper error” it would not explain why there is no license with L.L.’s signature. Finally,
    I have experience using carbon paper. The markings in Pic 3 are, in my experience, not
    consistent with impressions made from the pressure of writing on the top-level paper and are,
    instead, consistent with someone using an ink pen on the actual carbon paper to cover up the
    underlying carbon impressions.

            24.    An FWS-OLE agent interviewed CHARL LE ROUX on February 28, 2020 in
    Port Elizabeth, South Africa. LE ROUX identified himself with South African ID number
    88032851010845. During the interview he made the following statements in sum and substance
    and in pertinent part:

                  a.      LE ROUX owns approximately 400 hectares of land where he operates a
    lodge and guides hunts.

                    b.     LE ROUX explained that he buys pre-printed booklets of hunting licenses
    before each hunting season. Each book contains twenty-five individually and sequentially
    numbered licenses. Each license costs R20 (Rand). After booking the season’s hunts, he fills in
    the hunters’ names and whatever other information he has. The license is then signed by the
    respective hunter when he or she arrives. At the end of the hunt he tears off the license and
    submits it, along with the “PH hunting register book” to South Africa’s Department of
    Environmental Affairs. Eventually, he throws the hunting license book away because no one
    ever asks for old books and he does not know of any reason to keep them. LE ROUX stated that


                                                      17
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-3
                                              06/30/21
                                                 Filed 06/22/21
                                                        USDC Colorado
                                                                USDC Colorado
                                                                        Page 80 Page
                                                                                of 83 20
    Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 20 of 23 - Page ID#: 85
                                        Filed:




    he owns the game on his private land and, as a result, claimed that he does not need permission
    or a license to shoot those animals. Rather, LE ROUX stated that licenses are only necessary
    when an animal leaves his property, especially for export. Hunters provide LE ROUX with a
    $1,000 deposit and then pay their final bill at the end of the hunt. The final bill is based on the
    animals that a hunter decides to take. LE ROUX described it as a “menu” in which the cost of
    the animal is based on the number of animals available in the area.

                    c.    LE ROUX provided a hunt to C.F., B.C., and L.L., who be believed are
    related by blood or marriage. For this reason, he believed that their hunted animals could all be
    submitted in one shipment. LE ROUX said he had talked to Wildlife Inspector 2, whose identity
    is known to me, during a trade show in Portland Oregon. LE ROUX said that Wildlife Inspector
    2 told him that he would have handled the shipment of 23 animals “differently” than Wildlife
    Inspector 1.

                   d.     LE ROUX handles all of the export paperwork for his clients. To export
    animals, he removes the first copy of the hunting license for a hunter, attaches it to the “pink”
    copy of the hunting register, after the hunter has signed it, and then sends those documents to a
    shipping agent. The shipping agent then applies for export permits, including any necessary
    CITES permit. In this case, LE ROUX believes that only C.F. would have received a copy of
    those documents from the shipping agent. LE ROUX claimed that his clients do not know
    anything about CITES permits and do not even know the CITES-status of the animals they shoot.

                    e.      LE ROUX was shown the March 5 2019 L.L. Hunting License, which
    corresponds to “Pic 3” attached to the LE ROUX Affidavit. LE ROUX stated that he wrote
    L.L.’s name on the document but blamed the shadow of C.F.’s name on “messy” carbon paper.
    The agent told LE ROUX that it appeared the document in Pic 3 was the second copy page of
    C.F.’s license, but that LE ROUX had physically written L.L.’s details on it. LE ROUX could
    not explain how this could have happened and said that he had to think about it.

                    f.      Later, the FWS Special Agent again asked LE ROUX about why the
    March 5 2019 L.L. Hunting License, referenced as “Pic 3” in LE ROUX’s affidavit, appeared to
    have L.L.’s name directly written over the carbon-copy of the Original Hunting License. LE
    ROUX could not explain why this was the case. The agent asked if it was possible that L.L.
    never had a hunting license and whether LE ROUX would have needed to later create a license
    to justify a new set of export permits. LE ROUX responded “I’m gonna say, what could have
    happened is because he threw aware the book which contained L.L.’s license, he might have
    written a new hunting permit for L.L. and somehow it,” before stoping and saying it didn’t make
    sense why he would have written over the carbon copy for the Original License.

                   g.      LE ROUX was shown the Original Hunting Register and admitted that a
    plain reading of it would indicate that C.F. had personally killed all of the listed animals. He
    also admitted that it was a false record of what each hunter had killed, but said that he did it that
    way because he thought that everything could be combined in one shipment. After the problem
    arose in Denver, LE ROUX had to go back to find the original hunting licenses. However, he
    believed that by then he had already thrown away the book with L.L.’s license. He completed
    new hunting licenses and registers for the hunters. LE ROUX said he didn’t try to forge the


                                                     18
Case
  Case
     1:21-mj-00108-MEH
        1:21-mj-00108-MEH
                        *SEALED*
                           Document
                                 Document
                                    12 Filed3-3
                                              06/30/21
                                                 Filed 06/22/21
                                                        USDC Colorado
                                                                USDC Colorado
                                                                        Page 81 Page
                                                                                of 83 21
    Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 21 of 23 - Page ID#: 86
                                        Filed:




    hunter’s signatures, but that he did sign their names. LE ROUX said he knew what to put on
    each register because he had photographs of the hunters with their respective animals. LE ROUX
    denied discussing with C.F., L.L. or B.C. his plan to submit new hunting registers and said he
    could not remember whether he told them he would be signing their names.

                  h.      I interviewed Wildlife Inspector Gene Tucker on March 10, 2020, via
    telephone. Wildlife Inspector Gene Tucker remembered speaking with LE ROUX at a wildlife
    trade show. Wildlife Inspector Gene Tucker stated he told LE ROUX each hunters animals must
    be contained and submitted in separate shipments, not combined as one.


                                STATEMENT OF PROBABLE CAUSE
             25.    For the reasons set forth above I submit that there is probable cause to believe that
    on or about March 5, 2019, in the State and District of Colorado and elsewhere, the defendant
    CHARL LE ROUX did knowingly alter, conceal cover up, falsify and make false entries in a
    record, document, and tangible object, specifically Province of the Eastern Cape Hunting
    License 44789 issued to C.F., whose identity is known to me, with the intent to impede, obstruct
    and influence the investigation and proper administration of such matters within the jurisdiction
    of the United States Fish and Wildlife Service, a department and agency of the United States, and
    in relation to and in contemplation of such matter and case

           I declare under the penalty of perjury that the foregoing is true and correct to the best of

    my knowledge and belief.

                                          Respectfully Submitted,

                                          s/ William Stacy Campbell III
                                          William Stacy Campbell III
                                          Special Agent
                                          Fish and Wildlife Service, Office of Law Enforcement


    Sworn to before me this_____ day of June 2021.


    ____________________________
    Hon. Michael E. Hegarty
    United States Magistrate Judge

    Reviewed and submitted by Bryan David Fields, Assistant United States Attorney.




                                                     19
  Case
    Case
       1:21-mj-00108-MEH
          1:21-mj-00108-MEH
                          *SEALED*
                             Document
                                   Document
                                      12 Filed3-3
                                                06/30/21
                                                   Filed 06/22/21
                                                          USDC Colorado
                                                                  USDC Colorado
                                                                          Page 82 Page
                                                                                  of 83 22
      Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 22 of 23 - Page ID#: 87
                                          Filed:
AO 442 (Rev. 11/11) Arrest Warrant


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of Colorado


                          United States of America                         )
                                     v.                                    )
                                                                           )
                             CHARL LE ROUX                                 )      Case No.
                                                                           )
                                  Defendant                                )
                                                                           )

                                                       ARREST WARRANT
 TO:     Any authorized law enforcement officer
        YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary
 delay (name of person to be arrested)    CHARL LE ROUX   who is accused of offenses or violations based on the
 following document filed with the court:
    Indictment               Superseding Indictment            Information              Superseding Information                Complaint
    Probation Violation Petition              Supervised Release Violation Petition        Violation Notice          Order of the Court

 This offense is briefly described as follows:

         On or about March 5, 2019, in the State and District of Colorado and elsewhere, the defendant CHARL LE ROUX did
knowingly alter, conceal cover up, falsify and make false entries in a record, document, and tangible object, specifically Province of
the Eastern Cape Hunting License 44789 issued to C.F., whose identity is known to me, with the intent to impede, obstruct and
influence the investigation and proper administration of such matters within the jurisdiction of the United States Fish and Wildlife
Service, a department and agency of the United States, and in relation to and in contemplation of such matter and case.


                       All in violation of Title 18, United States Code, Section 1519
 Date:
                                                                                                 Issuing officer’s signature

City and state:
                                                                                                Printed name and title

                                                                Return
           This warrant was received on (date)                        , and the person was arrested on (date)
 at (city and state)                                                    .


 Date:
                                                                                                  Arresting officer’s signature


                                                                                                   Printed name and title
  Case
    Case
       1:21-mj-00108-MEH
          1:21-mj-00108-MEH
                          *SEALED*
                             Document
                                   Document
                                      12 Filed3-3
                                                06/30/21
                                                   Filed 06/22/21
                                                          USDC Colorado
                                                                  USDC Colorado
                                                                          Page 83 Page
                                                                                  of 83 23
      Case: 5:21-mj-05209-MAS Doc #: 14-2 of 23 06/30/21 Page: 23 of 23 - Page ID#: 88
                                          Filed:
AO 442 (Rev. 11/11) Arrest Warrant (Page 2)

                                    This second page contains personal identifiers
                 and therefore should not be filed in court with the executed warrant unless under seal.

                                               (Not for Public Disclosure)

Name of defendant/offender:
Known aliases:
Last known residence:
Prior addresses to which the defendant/offender may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:
Social Security number:
Height:                                                         Weight:
Sex:                                                            Race:
Hair:                                                           Eyes:
Scars, tattoos, other distinguishing marks:




History of violence, weapons, drug use:


Known family, friends and other associates (name, relation, address, phone number):


FBI number:
Complete description of auto:


Investigative agency and address:


Name and telephone numbers (office and cell) of pretrial services or probation officer (if applicable):


Date of last contact with pretrial services or probation officer (if applicable):
